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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

X
MARTiN JoNATHAN BATALLA vir)AL et ai.,
Plaintiffs,
-against- AMENI)EI) MEMORANDUM &
oRDER & PRELIMINARY
INJUNCTION
KIRSTJEN M. NIELSEN, Secretary, Departrnent of
Homeland Security, et al., 16-CV-4756 (NGG) (JO)
Defendants.
____ __-_ _____ X
STATE oF NEW YoRK er al.,
_ _ AMENDED MEMORANDUM &
PlalnflffS» . oRDER & PRELIMINARY

_ INJUNCTION
-against-

17~CV-5228 (NGG) (JO)
DONALD TRUMP, President of the United States, et al.,

Defendants.
-- ------ X

 

NICHOLAS G. GARAUFIS, United States District Judge.

In 2012, the Department of Horneland Secui'ity created the Deferred Action for
Childhood Alrivals (“DACA”) program That program permitted certain individuals Without
lawful immigration status Who entered the United States as children to obtain “deferred
action”_ contingent, discretionary relief from deportation_and authorization to Work legally in
this country. Since 2012, nearly 800,0()0 DACA recipients have relied on this program to Wol'k,

study, and keep building lives in this country

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On September 5, 20l7, Defendants announced that they would gradually end the DACA
program.1 (Letter from Jefferson B. Sessions Ill to Elaine C. Dul<;e (Adrnin. R. (Dkt. 77-1)2 251)
(“Sessions Ltr.”); Mem. from Elaine C. Dul§e, Acting Sec’y, DHS, Rescission of the lurie 15,
2012 Mernorandurn Entitled “Exercising Prosecutorial Discretion With Respect to Individuals
Who Carne to the United States as Children” (Sept. 5, 2017) (Admin. R. 252) (“DACA
Rescission Memo”).) The Department of Horneland Security (“DHS”) would consider pending
DACA applications and renewal requests, as well as promptly filed renewal requests by DACA
beneficiaries whose benefits were set to expire within six months, but would reject all other
applications and renewal requests (DACA Rescission Memo at 4.) Plaintiffs in the above~
captioned cases promptly challenged Defendants’ decision on a number of grounds, including,
most relevant for purposes of this Memorandurn and Order, that the decision violated the
Administrative Procedure Act, 5 U.S.C. § 551 w (the “APA”). (Zd Arn. Compl. (Dkt. 60));
Cornpl. (Dkt. l, No. l?-CV-S,'ZZS).) Plaintit`fs now seek a preliminary injunction barring
Defendants from ending the DACA program pending a iinal adjudication of these cases on the
merits. (Mern. in Supp. of Mot. for Prelirn. lnj. (Dkt. 123-1) (“BV Pls. i\/lot.”)', Mem. in Supp. of
Mot. for Prelim. Inj. (cht. 96~1, No. lT-CV-SZZS) (“State Pls. l\/lot.”).)

“Congress passed the fAPA] to ensure that agencies follow constraints even as they

exercise their powers. One ot` these constraints is the duty of agencies to find and formulate

 

1 Plaintiffs have named as defendants President Donald J. Trump, Secretary of the Department of Horneland
Security Kristjen Nielsen, and Attorney General Jefl`erson B. Sessions HI. Plaintiffs allege that the President
terminated the DACA program because of unlawful discriminatory animus, in violation of the Fiith Arncndment to
the U.S. Constitution. (3d Arn. Compi. (cht. ll3, No. l6-CV~4756) 111 89-100, 195-98; Am. Compl. (Dkt. 54, No.
17-CV-5228)‘|l‘[[ 57-70, 233-39.) Because the APA does not permit direct review ot` Presidential decisionmaking
Franklin v. Massaehusetts, 505 U.S. 788, 800-01 (1992), only the Attorney General and Secretary Nielsen are
defendants with respect to Plaintiffs’ substantive APA claims, which are the focus of this opinion (3d Am. Cornpl.
(Dkt. 113, No. 16-CV-4”756) at ECF p.40.)

2 All record citations refer to the docket in Batalla Vidal v. Nielsen, No. l6-CV~4756, except as otherwise noted.

 

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policies that can be justified by neutral principles.” FCC v. Fox Television Stations, lnc., 556
U.S. 502, 537 (2009) (Kennedy, J., concurring in part and in the judgment). To that end, the
APA authorizes parties harmed by federal agencies to obtain judicial review of agency decisions
5 U.S.C. § 702. The reviewing court must set aside “action, findings, [or] conclusions” that are,
among other things, “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance
with law.” §§ § 706(2)(A).3 Review under this “arbitrary and capricious” standard is “narrow,”
and the court may not “substitute its judgment for that of the agency”', instead, the court
considers only whether the agency’s decision “Was the product of reasoned decisionmaking.”
Motor Vehicle Mfrs. Ass’n ofU.S., lnc. v. State Farm Mut. Auto. lns. Co., 463 U.S. 29, 43, 52
(1983) (“State Farm”). lf the agency decision “examine[dj the relevant data and articulate[d] a
satisfactory explanation for its action including a ‘1'ational connection between the facts found
and the choice made,”’ the court will uphold the agency’s decision. ch at 43 (quoting Burlington
Truck Lines v. United States, 371 U.S. 156, 168 (1962)). lf, however, the agency’s decision
“relied on factors which Congress has not intended it to consider, entirely failed to consider an
important aspect of the problem, offered an explanation for its decision that runs counter to the
evidence before the agency, or is so implausible that it could not be ascribed to a difference in
view or the product of agency expertise,” that decision must be set aside. LJ.

Review under the arbitrary-and~capricious standard is generally limited to the agency’s
stated rationale for its decision, State Farrn, 463 U.S. at 43; Camp v. Pitts, 411 U.S. 138, 143
(1973) (per curiam), and to the “full administrative record that was before the [agency] at the

time [it] made [its] decision,” Citizens to Preserve Overton Parl<, lnc. v. Volj_§, 401 U.S. 402,

 

3 On November 9, 2017, the court rejected Defendants’ arguments that judicial review under the APA was
unavailable because the decision to rescind the DACA program was “cornrnitted to agency discretion by law.”
(Nov. 9, 2017, Meni. & Order (Dkt. 104) at 20-28.)

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420 (1971) (“Overton Park”). The court “may not supply a reasoned basis for the agency’s
action that the agency itself has not given.” State Farm, 463 U.S. at 43 (citing SEC v. Chenery
_Qorp_., 332 U.S. 194, 196 (1947) (“Chenerv ll”))', SEC v. Chenery Corjr;, 318 U.S. 80, 87 (1943)
(“Chenery ”). Nor may the court uphold agency action based on “po_sthg rationalizations of

agency action.” State Farrn, 463 U.S. at 50; see also Williams Gas Processinu _ Gulf Coast CL

 

L.P. v. FERC, 373 F.3d 1335, 1345 (D.C. Cir. 2004) (Roberts, J.) (“lt is axiomatic that [the
court] may uphold agency orders based only on reasoning that is fairly stated by the agency in
the order under review; M rationalizations by agency counsel will not suffice.” (internal
quotation marks and citation omitted)).

The APA thus sometimes places courts in the formalistic, even perverse, position of
setting aside action that was clearly within the responsible agency’s authority, simply because
the agency gave the wrong reasons for, or failed to adequately explain, its decision §g, §tmat§
farm, 463 U.S. at 42-43, 48-56; Overton Park, 401 U.S. at 416, 420. Based on the present
record, these appears to be just such cases.

Defendants indisputably can end the DACA pro gram. Nothing in the Constitution or the
lmmigration and Nationality Act, 8 U.S.C. § 1101 ise_q; (the “INA”), requires immigration
authorities to grant deferred action or work authorization to individuals without lawful
immigration status. The DACA pro gram, like prior deferred-action and similar discretionary
relief pro grams, simply reflected the Obarna Adrninistration’s determination that DHS’ s limited
enforcement resources generally should not be used to deport individuals who were brought to
the United States as children, met educational or military-service requirements, and lacked
meaningful criminal records. (Mem. from .`lanet Napolitano, Sec’y, DHS, Exercising

Prosecutorial Discretion with Respect to Individuals Who Carne to the United States as Children

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at 1-2 (June 15 , 2012) (Admin. R. 1~2) (the “2012 DACA l\/lemo”).) New Administrations may,
however, alter or abandon their predecessors’ policies, even if these policy shifts may impose
staggering personal, social, and economic costs.4

The question before the court is thus not whether Defendants could end the DACA
program, but whether they offered legally adequate reasons for doing so. Based on its review of
the record before it, the court concludes that Defendants have not done so. First, the decision to
end the DACA program appears to rest exclusively on a legal conclusion that the program was
unconstitutional and violated the APA and INA. Because that conclusion was erroneous, the
decision to end the DACA program cannot stand Second, this erroneous conclusion appears to
have relied in part on the plainly incorrect factual premise that courts have recognized
“constitutional defects” in the somewhat analogous Deferred Action for Parents of Americans
and Lawful Permanent Residents (“DAPA”) program. Third, Defendants’ decision appears to be
internally contradictory, as the means by which Defendants chose to “wind down” the program
(namely, by continuing to adjudicate certain DACA renewal applications) cannot be reconciled
with their stated rationale for ending the program (namely, that DACA was unconstitutional).
Any of these flaws would support invalidating the DACA rescission as arbitrary and capricious

Before this court, Defendants have attempted to refra;me their decision as motivated by
“litigation risk.” They contend that the decision to end the DACA program was reasonable in
light of the prospect that Texas and several other states would seek to amend their complaint in

Texas v. United States, No. 14-CV-254 (S.D. Tex.), to challenge the DACA program; that the

 

“ These costs are detailed in greater length in the exhibits to Plaintiffs’ motions for preliminary injunction, and in
the many helpful briefs filed by Lnic_i in these cases. (See, e.g., Brief of Amici Curiae l 14 Companies (Dkt. 160)
(estimating the costs of the DACA rescission over the next decade at $460.3 billion in lost GDP and $24.6 billion in
lost Social Security and Medicare tax contributions).)

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U.S. District Court for the Southern District of Texas would issue a nationwide injunction ending
the program', and that the U.S. Court of Appeals for the Fifth Circuit and the U.S. Supreme Court
would affirm that injunction (Defs. Opp’n to Pls. Mots. for Prelim. lnj. (Dkt. 239) at l, 10-11,
21-24.) The Administrative Record does not support Defendants’ contention that they decided to
end the DACA program for this reason. Even if it did, reliance on this “litigation risk” rationale
would have been arbitrary and capricious, in light of Defendants’ failure to explain their decision
or to consider any factors that might have weighed against ending the DACA program And
even if this “litigation risk’i rationale were both supported by the Administrative Record and a
reasonable basis for rescinding the DACA program, the court would nevertheless likely set
Defendants’ decision aside, as the court cannot say that any of the aforementioned errors were
harmless, for purposes of review under the APA.

Accordingly, the court concludes that Plaintiffs are likely to succeed on the merits of
their substantive APA claims. Because Plaintiffs also satisfy the remaining requirements for the
court to issue a preliminary injunction, the court EN.TOINS Defendants from rescinding the
DACA program, pending a decision on the merits of these cases. Defendants thus must continue
processing DACA renewal requests under the same terms and conditions that applied before
September 5, 2017, subject to the limitations described below. The scope of this preliminary
injunction conforms to that previously issued by the U.S. District Court of the Northern District
of California. §§ Order Denying Defendants’ Motion to Dismiss for Lack of Subj ect~l\/latter
Jurisdiction and Granting Provisional Relief (Dkt. 234), Regents of the Univ. of Calif. v. U.S.
Dep’t of Homeland Sec., No. 3117-CV-5211 (N.D. Cal. .lan, 9, 2018) (“_i_{§g_en_ts_”) (Alsup, J.),

pet. for cert. before judgment filed, No. 17-1003.

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The court makes clear, however, what this order is not.

This order does not hold that the rescission of DACA was unlawful. That
question is for summary judgment, not motions for a preliminary injunction §§
Hamilton Watch Co. v. Bem‘us Watch Co., 206 F.2d 738, 742 (2d Cir. 1953)
(“[A] preliminary injunction . . . is, by its very nature, interlocutory, tentative,
provisional, ad interim, imperrnanent, mutable, not fixed or final or conclusive,

characterized by its for-the-time-beingness.”).

This order does not hold that Defendants may not rescind the DACA
program. Even if the court ultimately finds that Defendants’ stated rationale for
ending the DACA program was legally deficient, the ordinary remedy is for the
court to remand the decision to DHS for reconsideration _S§e Chenery l, 318 U.S.
at 94~95. On remand, DHS “might later, in the exercise of its lawful discretion,
reach the same result for a different reason.” FEC v. Akins, 524 U.S. ll, 25
(1998).

This order does not require })efendants to grant any particular DACA
applications or renewal requests Restoring the DACA program to the status
quo as of September 4, 2017, does not mean that every DACA recipient who
requests renewal of his or her deferred action and work authorization will receive
it. The DACA program identified “criteria [that] should be satisfied before an
individual is considered for an exercise of prosecutorial discretion.” (2012
DACA Memo at l.) lt did not require immigration officials to defer action
against any individuals who met these criteria; to the contrary, the 2012 DACA
l\/lemo stated that DHS would exercise prosecutorial discretion “on an individual
basis” and would not “provide any assurance that relief will be granted in all
cases.” (_h$ at 2-3.) Preserving the status quo means only that Defendants must
continue considering DACA applications and renewal requests, not that they must
grgnt all such applications and requests. (&a_e U.S. Citizenship & immigration
Servs., Frequently Asked Questions at Q6 (Apr. 25, 2017) (“Apr. 25 DACA
FAQs”), Ex. 41 to State Pls. Mot. (Dkt. 97-2, No. l7~CV-5228) at ECF p.186.)

rI`his order does not prevent })efendants’ from revoking individual DACA
recipients’ deferred action or Work authorization Under the 2012 DACA
Memo, DHS may terminate a DACA recipient’s deferred action “at any time,
with or without a Notice of Intent to Terminate, at [its] discretion.” (Apr. 25
DACA FAQs at Q27.) Maintaining the status quo does nothing to alter that.

Because the court issues the preliminary injunction requested by Plaintiffs, the Batalla

Vidal Plaintiffs’ Motion for Class Certification (Dkt. 124) is DENIED as moot. The court will

address by separate order Defendants’ motions to dismiss Plaintiffs’ operative complaints

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(Defs. Mot. to Dismiss Third Am. Compl. (Dkt. 207); Defs. l\/lot. to Dismiss (Dkt. 71, No. 17-
CV~5228).)
l. BACKGROUND

The court provides a brief history of immigration authorities’ use of “deferred action”
and similar discretionary~relief programs, the DACA and DAPA pro grams, and this litigation to
offer context for the discussion that follows For further background, the reader may consult this
court’s prior orders (Ye Oct. 3, 2017, Order (Dkt. 72); Oct. 17, 2017, Mem. & Order (Dkt. 86)',
Oct. 19, 2017, Mem. & Order (Dkt. 90); Nov. 9, 2017, Mem. & Order (Dkt. 104); Nov. 20, 2017 ,
Order (Dkt. 109); Dec. 15, 2017, Order (Dl<t. 122); ian. 8, 2018, Mem. & Order (Dkt. 233)), the
Northern District of California’s opinion in M, 2018 WL 339144, at *1-8, and the opinion
of the Office of Legal Counsel regarding DAPA fsia The Department of Homeland Security’s
Authority to Prioritize Removal of Certain Aliens Unlawfully Present in the United States and to
Defer Removal of Others, 38 Op. O.L.C. at l (2014) (Admin. R. 4) (“OLC Op.”)).

A. History of Deferred Action

“The Government of the United States has broad, undoubted power over the subject of
immigration and the status of aliens.” Arizona v. United States, 567 U.S. 387, 394 (2012). That
power derives from the Constitution, which authorizes Congress “[t]o establish a uniform Rule
ofNaturalization,” U.S. Const. art. l., § 8, cl. 4, and from the Government’s “inherent power as
sovereign to control and conduct relations with foreign nations.” _Arlz@a, 567 U.S. at 395.
Acting under this authority, the Governrnent has created an “extensive and complex” statutory
and regulatory regime governing, among other things, who may be admitted to the United States,
who may work here, and who may be removed from the country. l_d.; see id_. at 395-97.

l\lot all “removable” aliens are, in fact, deported from this country. Immigration officials

“cannot act against each technical violation of the statute[s they are] charged with enforcing,”

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but must determine which enforcement actions are worthwhile Heckler v. Chaney, 470 U.S.
821, 831 (1985); A;paio v. Obama, 797 F.3d ll, 15-l6 (D.C. Cir. 2015). “A principal feature of
the removal system is the broad discretion exercised by immigration officials,” who “as an initial
matter, must decide whether it makes sense to pursue removal at all,” and, “[i]f removal
proceedings commence,” may decide whether removable aliens warrant asylum or “other
discretionary relief allowing them to remain in the country or at least to leave without formal
removal.” M, 567 U.S. at 396; see also Reno v. Am.-Arab Anti-Discrimination Comm.,
525 U.S. 471, 483 (1999) (“AAADC”) (observing that throughout the removal process,
immigration officials have “discretion to abandon the endeavor”). lmrnigration officials’
enforcement discretion is a practical necessity as well as a legal reality: By one recent estimate,
there are approximately ll.3 million undocumented aliens present in the United States, of whom
DHS has the resources to remove fewer than 400,000 per year_about 3.5 percent of the total.
(OLC Op. at l.)

Over the years, Congress and the Executive Branch have developed a number of means
by which immigration officials may exercise their discretion not to deport removable aliens.
“Some of these discretionary powers have flowed from statute,” such as “parole,” § 8 U.S.C.

§ 1182(d)(5)(A), and “temporary protected status,” ge § § l254a. M, 2018 WL 339144,
at *2; see also, e.g., 8 U.S.C. § 1229b (cancellation of removal); § § 12290 (voluntary
departure). Others, such as “deferred enforced departure” or “extended voluntary departure,”
have been ad hoc exercises of executive authority, grounded in the Executive Branch’s
responsibility for conducting foreign relations and enforcing immigration laws, rather than in

express congressional authorization Regents, 2018 WL 339144, at *2; OLC Op. at 12 & n.5.

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The cases before this court concern one such form of discretionary relief. ‘°Deferred
action” is a longstanding practice by which the Executive Branch exercises its discretion to
abandon, or to decline to undertake, deportation proceedings “for humanitarian reasons or simply

for its own convenience.” AAADC, 525 U.S. at 484; see also Arpaio, 797 F.3d at 16

 

(“‘ [D]eferred action’ . . . entails temporarily postponing the removal of individuals unlawfully
present in the United States.”). By granting a removable alien deferred aetion, immigration
officials convey that they do not currently intend to remove that individual from the country. As
such, deferred action offers the recipient some assurance-however non-binding, unenforceable,
and contingent on the recipient’s continued good behavior-that he or she may remain, at least
for now, in the United States. Additionally, recipients of deferred action may apply for
authorization to work legally in the United States, provided that they “establish[j an economic
necessity for employment.” 8 C.F.R. § 274a.l2(c)(l4); Ye_als_o 8 U.S.C. § 1324a(h)(3)
(excluding from the definition of “unauthorized aliens,” who may not be knowingly employed in
the United States, aliens “authorized to be . . . employed . . . by the Attorney Genera ”).
Deferred action does not, however, confer lawful immigration status, a pathway to citizenship, or

a defense to removal, and is revocable by immigration authorities United States v. Arrieta, 862

 

F.3d 512, 514 (5th Cir. 2017); Ariz. Dream Act Coal. v. Brewer, 757 F.3d 1053, 1058 (9th Cir.
2014). (2012 DACA Memo at 3.)

“Although the practice of granting deferred action ‘developed without express statutory
authorization,’ it has become a regular feature of the immigration removal system that has been
acknowledged by both Congress and the Supreme Court.” (OLC Op. at 13 (quoting AAADC,
525 U.S. at 484).) DHS and its predecessor, the lmmigration and Naturalization Service, have

employed deferred action and similar discretionary-relief programs, such as “nonpriority status”

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and “extended voluntary departure,” since at least the 1960s. _A_rpaig, 797 F.3d at 16 (citing OLC
Op. at 7-8, 12-13). (Br. of Amicus Curiae Former Federal Immigration and Homeland Security
Officials (Dkt. 198-1) (“Former Fed. Officials Arnicus Br.”) at 6-11; Andorra Bruno et al., Cong.
Res. Serv., Analysis of June 15, 2012 DHS Mernorandum, Exercising Prosecutorial Discretion
with Respect to lndividuals Who Came to the United States as Children, at 20-23 (July 13,
2012), https://edsource.org/wp~content/uploads/oldeeferred-Action-Congressional-Research-
Service-Reportl .pdf (“CRS Rep.”).) These programs were used to provide relief to, among
dozens of examples, refugees from war-tom and communist countries; spouses and children of
aliens granted legal status under the lmmigration Reforrn and Control Act of 1986, Pub. L. No.
99-603, 100 Stat. 3359; aliens eligible for relief under the Violence Against Women Act
(“VAWA”) or the Victirns of Trafficking and Violence Protection Act of 2000; foreign students
affected by Hurricane Katrina; and certain widows and widowers of U.S. citizens. (OLC Op. at
14~17; Former Fed. Ofiicials Amicus Br. at 8-10.)

Congress has repeatedly ratified immigration officials’ practice of according deferred
action to certain aliens without lawful immigration status. M, 8 U.S.C. § 1151 note
(certain immediate family members of certain alien U.S. combat veterans are “eligible for
deferred action, advance parole, and work authorization”)', ii § 1154(a)(1)(D)(i)(lI) (VAWA
petitioners “eligible for deferred action and work authorization”)', iii § l227(d)(2) (denial of
administrative stay of removal “shall not preclude the alien from applying for . . . deferred
action”); USA PATRIOT Act of 2001, Pub. L. No. 107~56, § 423(1)), 115 Stat. 272, 361 (certain
immediate family members of lawful permanent residents killed in the terrorist attacks of

September 11, 2001, “rnay be eligible for deferred action and Work authorization”).

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B. DACA and DAPA

On June 15, 2012, then~DHS Secretary Janet Napolitano issued the 2012 DACA Memo,
which stated that DHS would consider granting deferred action to certain individuals without
lawful immigration status who entered the United States as children. (2012 DACA Memo at 1.)
Secretary Napolitano stated that DHS was implementing this program as an “exercise of
prosecutorial discretion” in the enforcement of immigration laws, to “ensure that . . .
enforcement resources are not expended on . . . low priority cases.” (Li) Under the 2012 DACA
Merno, individuals Were eligible for consideration for deferred action if they (l) “came to the
United States under the age of sixteen”; (2) had “continuously resided in the United States for
a[t] least five years preceding the date of this memorandum and {were] present in the United
States” on that date; (3) were “in school,” had “graduated from high school,” had obtained
GEDs, or were honorably discharged veterans of the Armed Forces or Coast Guard; (4) had not
been convicted of felonies, significant misdemeanors, or multiple misdemeanorsj or been
deemed to “otherwise pose[] a threat to national security or public safety”; and (5) were not
above the age of thirty. (Ld_.) DACA applications from individuals meeting these criteria would
be evaluated “on an individual” or “case-by-case” basis and would not necessarily be “granted in
all cases.” (Ld. at 2.) The 2012 DACA l\/lemo “confer[red] no substantive right, immigration
status or pathway to citizenship.” (l_dw. at 2-3 .)

In late 2014, DHS announced the DAPA program, which would have granted deferred
action to certain parents of U.S. citizens and lawful permanent residents (Mem. from Jeh
Charles Johnson, Sec’y of DHS, Exercising Prosecutorial Discretion with Respect to Individuals
Who Came to the United States as Children and With Respect to Certain lndividuals Who Are the
Parents of U.S. Citizens or Permanent Residents CNov. 20, 2014) (the “201 4 DAPA Memo”)

(Admin R. 40).) As part of that program, then~DHS Secretary Jeh Johnson directed U.S.
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Citizenship and lmmigration Services (“USCIS”) “to establish a process, similar to DACA, for
exercising prosecutorial discretion through the use of deferred action, on a case-by-case basis,”
to certain individuals who, among other things, lacked formal immigration status and had a son
or daughter who was a U.S. citizen or lawful permanent resident (ch at 1.) Secretary Johnson
also announced that the DACA program would be expanded by (1) removing the requirement
that DACA applicants be under the age of 30 as of June 2012; (2) extending the duration of the
deferred action and work authorization obtained through the program from two to three years;
and (3) adjusting the date~of~entry requirement to open DACA to individuals brought to the
United States between June 15, 2007, and January 1, 2010. (ic_l_. at 3-4 (the “DACA
Expansion”).)

C. The lela§ Litigaticn

Following DHS’s issuance of the 2014 DAPA Memo, Texas and 25 other states filed suit
in the U.S. District Court for the Southern District of Texas, alleging that the DAPA program
violated the APA and the Take Care Clause of the U.S. Constitution, U.S. Const. art. Il, § 3. _S_e§
Texas v. United States, 86 F. Supp. 3d 591, 598 (S.D. Tex. 2015). On February 16, 2015, after
concluding that Texas and its fellow plaintiffs had standing to sue, Judge Andrew Hanen
determined that they were likely to succeed on the merits of their claim that DAPA constituted a
“legislative” or “substantive” rule that, under the APA, should have been made through notice-

d. at 664-72. In particular, Judge Hanen found that the

and-comment rulemaking procedures
2014 DAPA Memo, “[a]t a minimum, . . . ‘severely restrict[ed]’ any discretion that Defendants
argue exists” in the adjudication of DAPA applications, and that DHS had not genuinely
exercised discretion in reviewing DACA applications Li at 669 & n.101. The court issued a
nationwide injunction against the implementation of both the DAPA pro gram and the DACA

Expansion. ld. at 677~78.
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The Fifth Circuit denied a stay of the preliminary injunction, 787 F.3d 733, 743 (5th Cir.
2015), and affirmed the district court on two independent, alternative grounds, 809 F.3d 134, 178
(5th Cir. 2015) (revised). First, the Fifth Circuit upheld the district court’s ruling that the
plaintiff states were likely to prevail on the merits of their claim that the DAPA program was
invalid because it was not developed through notice-and-comment rulemaking _Sge i_oL at 170-
78. ln particular, the Fifth Circuit found that Judge Hanen did not clearly err in finding that
“[n]othing about DAPA genuinely leaves the agency and its [ernployees] free to exercise
discretion,” based partly on evidence that supposedly showed that USCIS exercised little case-
by-case discretion in adjudicating DACA applicationsl I_dl at 172 (quoting 86 F. Supp. 3d at 670
(alterations in original)); see ii at 172-78.

Second, the Fifth Circuit concluded that the plaintiff states were likely to prevail on the
merits of their claim that the DAPA program was substantively arbitrary and capricious because,
in that court’s view, the program was contrary to the INA. B iri_. at 178-86. The Fifth Circuit
observed that “Congress has enacted an intricate process for illegal aliens to derive a lawful
immigration classification from their children’s immigration status,” in the form of family-
preference visas, id at 179, and cancellation of removal and adjustment of status, irl at 180.
While admitting that DAPA did not “confer the full panoply of benefits that a visa gives,” the
Fifth Circuit held that DAPA nevertheless conflicted with these statutory forms of relief by
permitting “illegal aliens to receive the benefits of lawful presence” without meeting the
stringent requirements applicable to these provisions. _S_e_e § at 180. Similarly, the Fifth Circuit
held that DAPA conflicted with the INA by providing an easier path to “lawful presence” and
work authorization for approximately four million undocumented immigrants-4a question of

great national importance that Congress could not have intended to delegate implicitly to DHS.

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_Sge § at 180-81. The Fifth Circuit acknowledged that there was a long history of discretionary-
relief programs but held that past practice was not dispositive of DAPA’s legality and
distinguished DAPA from past programs on the grounds that such programs were “‘done on a
country-specific basis, usually in response to war, civil unrest, or natural disasters,”’ id_. at 184
(quoting CRS Rep. at 9); used as a “bridge[] from one legal status to another,” i_d_.; or “interstitial
to a statutory legalization scheme,” such as the Family Fairness program enacted by the Reagan
and George H.W. Bush Administrations, i_d_. at 185. Accordingly, “DAPA [wa]s foreclosed by
Congress’s careful plan . . . and therefore was properly enjoined.” lch at 186.

The Supreme Court granted the Government’s petition for a writ of certiorari, 136 S. Ct.
906 (2016), and affirmed the decision of the Fifth Circuit by an equally divided court, 136 S. Ct.

2271 (lvlem.).

I). The DACA Rescission

On January 25, 2017, the newly inaugurated President Donald Trurnp issued an executive
order stating that “[i]t is the policy of the executive branch to . . . [e]nsure the faithful execution
of the immigration laws of the United States,” and that “[w]e cannot faithfully execute the
immigration laws of the United States if we exempt classes or categories of removable aliens
from potential enforcement.” Exec. Order 13,768, Enhancing Public Safety in the lnterior of the
United States (Jan. 25, 2017), 82 Fed. Reg. 8799. Shortly thereafter, then-DHS Secretary John
F. Kelly issued a memorandum implementing this executive order by rescinding “all existing
conflicting directives, memoranda, or field guidance regarding enforcement of our immigration
laws and priorities for removal,” except for the DACA and DAPA programs, which he left in
place. (Mem. from lohn F. Kelly, Sec’y, DHS, Enforcement of the Immigration Laws to Serve

the National Interest at 2 (Feb. 20, 2017) (Admin. R. 230).)

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Four months later, Secretary Kelly issued another memorandum rescinding DAPA and
the DACA Expansion in light of “the preliminary injunction in this matter, the ongoing litigation,
the fact that DAPA never took effect, and our new immigration enforcement priorities.” (Mem.
from John F. Kelly, Sec’y, DHS, Rescission of November 20, 2014, Memorandum Providing for
Deferred Action for Parents of Americans and Lawful Pennanent Residents (“DAPA”) at 3 (June
15, 2017) (Adrnin. R. 237).) This memo left the original DACA program in place and did not l
affect the remaining three-year grants of deferred action that were issued under the DACA
Expansion prior to Judge Hanen’s issuance of a preliminary injunction in l`§gs. (lg at 2 & n.3).

Following the rescission of the 2014 DAPA Memo, Texas Attorney General Ken Paxton,
joined by the attomeys-general often other states, wrote to Attorney General lefferson B.
Sessions to insist that the Executive Branch rescind the 2012 DACA Memo. (Ltr. from Ken
Paxton, Att’y Gen. of Tex., to Hon. J eff Sessions, Att’y Gen. of the U.S. (June 29, 2017)
(Admin. R. 23 8).) Paxton threatened that if DHS did not stop issuing or renewing deferred
action and work authorization under DACA or the DACA Expansion, the plaintiff states would
amend their complaint in the I§)Qs litigation “to challenge both the DACA program and the
remaining Expanded DACA permits.” (ld; at 2.) If, however, Defendants agreed to rescind the
2012 DACA Memo and to cease “renew[ing] or issu[ing] any new DACA or Expanded DACA
permits in the future,” the plaintiffs would voluntarily dismiss their complaint (l_d_.)

On September 5, 2017, Defendants announced that the DACA program would be brought
to a gradual end. ln an undated letter (the “Sessions Letter”), the Attorney General wrote to

then-Acting DHS Secretary Elaine C. Duke to “advise that [DHS] should rescind” the 2012

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DACA l\/lemo.5 (Sessions Ltr.) The Attorney General opined that DACA was unlawful,
unconstitutional, and likely to be invalidated in court:

DACA was effectuated by the previous administration through
executive action, without proper statutory authority and with no
established end-date, after Congress’ repeated rejection of proposed
legislation that would have accomplished a similar result. Such an
open-ended circumvention of immigration laws was an
unconstitutional exercise of authority by the Executive Branch. The
related Deferred Action for Parents of Americans and Lawful
Permanent Residents (DAPA) policy was enjoined on a nationwide
basis in a decision affirmed by the Fifth Circuit on the basis of
multiple legal grounds and then by the Supreme Court by an equally
divided vote. Then Secretary of Homeland Security John Kelly
rescinded the DAPA policy in lune. Because the DACA policy has
the same legal and constitutional defects that the courts recognized
as to DAPA, it is likely that potentially imminent litigation would
yield similar results with respect to DACA.

§Li (citation omitted).)

Thereafter, Acting Secretary Duke issued a memorandum (the “DACA Rescission
Memo”) instructing her subordinates to c‘execute a wind-down of the pro gram.” (DACA
Rescission Memo at 1.) Acting Secretary Duke briefly summarized the creation of the DACA
and DAPA programs and stated that, although the DACA program “purported to use deferred
actionran act of prosecutorial discretion meant to be applied only on an individualized case-by-
case basis,” “USClS has not been able to identify specific denial cases where an applicant
appeared to satisfy the programmatic categorical criteria as outlined in the [2012 DACA l\/lemo]
but still had his or her application denied based solely upon discretion.” (ch at 2 & n.l .) Acting
Secretary Duke then described the history of the :l`_e@§ litigation, noting that the Fifth Circuit had

affirmed the injunction against the implementation of the DAPA program based on the finding

 

5 While the Sessions Letter is not dated, the bookmarks in the electronic PDF file of the Administrative Recorcl
ascribe a date of September 4, 20l7, to this letter.

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“that DACA decisions were not truly discretionary,” and observed that Secretary Kelly had acted
to end categorical or class-based exemptions of aliens from potential enforcement of the
immigration laws and to rescind the DAPA program while leaving the DACA program
“temporarily . . . in place.” (li at 2; Y_e i_@ at 2-3.)

The Acting Secretary then noted that Texas and several other states had threatened to
challenge the DACA pro gram, and she briefly summarized the Attorney General’s opinion that
DACA was unconstitutional, unlawful, and likely to be struck down because it shared “the same
legal and constitutional defects that the courts recognized as to DAPA.” (lg at 3 (quoting
Sessions Ltr.).) “Taking into consideration the Supreme Court’s and the Fifth Circuit’s rulings in
the ongoing litigation, and the September 4, 2017 letter from the Attorney General,” she
concluded, “it is clear that the June 15, 2012, DACA program should be terminatcd.” (_d_. at 4.)

ln light of “the complexities associated with winding down the program,” however,
Acting Secretary Duke directed that the program should be wound down gradually. (LL) lnitial
applications, renewal requests, and associated applications for work authorization that had been
“accepted” by DHS by September 5, 2017, would be adjudicated “on an individual, case-by-case
basis.” (_d;) Likewise, all DACA renewal requests and associated applications for work
authorization submitted by “current beneficiaries whose benefits will expire between [September
5, 2017] and March 5, 2018,” would be adjudicated, provided that these requests were “accepted
by [DHS] as of October 5, 2017.” (l_d.) DHS would, however, “reject all DACA initial requests
and associated applications for [work authorization] filed after the date of this memorandum”
and “all DACA renewal requests and associated applications for [work authorization] filed

outside of the[se] parameters.” Qd_.) Existing DACA benefits would not be terminated

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immediately but would not be renewed, and DHS would no longer approve further applications
for advance parole.” (l_d.)

E. Procedural Histor'y

The court will not restate the procedural history of these cases prior to November 2017,
which is set forth in the court’s November 9 Memorandum and Order. The court will, however,
provide the following timeline of recent developments in these cases.

On December ll, 2017, the Batalla Vidal Plaintiffs filed their Third Amended Complaint
(Dkt. 113), which largely tracked their Second Amended Complaint but added a claim that
Defendants Nielsen and Sessions violated the Due Process Clause of the Fifth Amendment by
rejecting DACA renewal applications that (l) were promptly mailed but received by USCIS after
October 5, 2017, due to U.S. Postal Service delays; (2) were delivered to USCIS by October 5,
2017, but rejected because they arrived too late in the day; or (3) contained “minor perceived or
actual clerical errors.” (Third Am. Compl. (Dkt. 113)1[ 203; ppg irl 1111 199-205.)

On December 20, 2017, the Supreme Court vacated the decision of the U.S. Court of
Appeals for the Ninth Circuit denying Defendants’ petition for a writ of mandamus to the
Northern District of California in similar litigation challenging Defendants’ decision to end the
DACA program. ln re United States, No. 17-801 (U.S. Dec. 20, 2017) (per curiam). The
Supreme Court held that the “Government [has made] serious arguments that at least portions of
the District Court’s order are overly broad” and that, “[u]nder the specific facts of [that] case,”
the district court should have resolved the Government’s arguments that the decision to rescind
the DACA program was not subject to judicial review before ordering the Government to
produce a complete administrative record. Li (slip op. at 3). The Court suggested that the
district court “may consider certifying that ruling for interlocutory appeal under 28 U.S.C.

§ 1292(b) if appropriate.” ld. (slip op. at 4).
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One week later, the U.S. Court of Appeals for the Second Circuit denied Defendants’
petition for a writ of mandamus to this court and lifted its stay of record-related orders entered by
this court and by l\/lagistrate Judge J ames Orenstein. (Dec. 27, 2017, USCA Order (Dkt. 210).)
The Second Circuit rejected Defendants’ position that they could unilaterally determine which
portions of the administrative record the court could consider, and determined that, in light of the
“strong suggestion that the record before the [District Court] was not complete,” plaintiffs were
entitled to discovery as to whether Defendants had produced a full administrative record. (lg at
2 (quoting D pico v. Goldschmidt, 687 F.2d 644, 654 (2d Cir. 1982)) (alteration in original).)
Rej ecting Defendants’ contention that compliance with this court’s and ludge Orenstein’s
record-related orders would burden the Executive Branch, the Second Circuit noted that this
court had repeatedly limited the scope of those orders, such that, as the Government conceded,
“the number of documents, covered by the order, as modified, is approximately 20,000, a far
smaller number than the Government’s papers led this court to believe.” (I_r_l_. at 3-4.) The

Second Circuit distinguished in re United States on the grounds that this court had already

 

considered and rejected Defendants’ jurisdictional arguments, clarified that the orders in question
did not apply to White House documents, and limited the orders to apply to dramatically fewer
documents than were at issue in the cases before the Nor'thern District of California. (ld. at 4-5.)
Defendants then moved for the court to certify its November 9 Memorandum and Order
for interlocutory appeal pursuant to 28 U.S.C. § 1292(b). (Mot. to Certify Order for Appeal
(Dkt. 219).) rl`hey argued that certification would “materially advance the disposition of the
litigation” by either “terminat[ing] the litigation” or “clarify[ing] the rights of the parties” and
“limiting the claims going forward in this litigation.” (l\/Iem. in Supp. of Mot. to Certify Order

for Appeal (Dkt. 219-1) at 14.) On January 8, 2018, the court granted Defendants’ motion to

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certify the l\lovember 9 Memorandum and Order for interlocutory appeal because, among other
things, there was “substantial ground for difference of opinion” on the question of whether the
DACA rescission was committed to agency discretion by law. (Jan. 8, 2018, l\/lem. & Order
(Dkt. 23 3) at 4-6.) Defendants then argued that the court should delay an oral argument
scheduled for January 18, 2018, pending the Second Circuit’s consideration of the interlocutory
appeal, as “all (or at least most) of [the] district-court proceedings [regarding Defendants’

motions to dismiss, Plaintiffs’ motions for a preliminary injunction, and the Batalla Vidal

 

Plaintiffs’ motion for class certification] will be unnecessary if the Second Circuit accepts some
or all of the government’s arguments on jurisdiction and justiciability.” (Defs. Jan. 11, 2018,
Ltr. (Dkt. 236) at 1.) Before the Second Circuit, however, Defendants abruptly changed tack,
agreeing with Plaintiffs “that holding the petition [for interlocutory appeal] in abeyance would be
the most efficient course of action,” pending this court’s consideration of Defendants’ motion to
dismiss and Plaintiffs’ motions for preliminary relief and class certification (Reply in Supp. of

Pet. for Perinission to Appeal (Dkt. 28, Nielsen v. Vidal, No. 18-122 (2d Cir.)) at 2.)6

 

On lanuary 9, 2018, the Northern District of Califomia denied Defendants’ motion to
dismiss B§ge_nt_$ and its companion cases and granted the plaintiffs a preliminary injunction
(Nov. 9, 2018, Order Denying FRCP 12(b)(1) Dismissal and Granting Provisional Relief (Dkt.
23 4, B_egelrt§).) Like this court, Judge William Alsup rejected Defendants’ contentions that the
decision to end the DACA program was committed to agency discretion by law and that 8 U.S.C.

§ 1252(g) barred judicial review of that decision (l_cL at 18-23.) ludge Alsup further concluded

 

5 Defendants’ new litigation position is thus directly at odds with its arguments for why this court should certify the
Novernber 9 Mernorandum and Order. The court is uncertain whether the inconsistency in Defendants’ position
should be ascribed to lack of coordination between the Department of Justice’s Federal Prograrns Branch and Civil
Appellate staff, or instead to a deliberate attempt to delay the resolution of these cases ln any event, the court is not
pleased that Defendant have requisitioned judicial resources to decide a motion for relief that they seem not to have
actually wanted.

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that the plaintiffs were entitled to a preliminary injunction because they were likely to prevail on
the merits of their claim that the decision to rescind the DACA program was substantively
“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law,” because
that decision “was based on a flawed legal premise” that the DACA program was illegal (l¢ at
29; see i;d.” at 29-38.) ludge Alsup rejected Defendants’ argument that “DHS acted within its
discretion in managing its litigation exposure in the Fifth Circuit, weighing its options, and
deciding on an orderly wind down of the program so as to avoid a potentially disastrous
injunction in the Fifth Circuit” as a “classic post hoc rationalization” and, in any event,
insufficient to support the decision to rescind the DACA program because Defendants had
neither considered defenses to Texas’s potentially imminent suit nor weighed supposed litigation
risks against “DACA’s programmatic objectives as well as the reliance interests of DACA
recipients.” (l_cL at 38-43.)

II. LEGAL STANDARD

“[Aj preliminary injunction is an extraordinary and drastic remedy, one that should not be
granted unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v.
Armstrong, 520 U.S. 968, 972 (1997) (per curiam) (quoting llA Charles A. Wright et al.,
Federal Practice and Procedure § 2948, at 130 (2d ed. 1995)) (emphasis omitted). A party
“seel<ing a preliminary injunction must establish that he is likely to succeed on the merits; that he
is likely to suffer irreparable harm in the absence of preliminary relief; that the balance of
equities tips in his favor; and that an injunction is in the public interest.” Winter v. Nat. Res.

Def. Council, inc., 555 U.S. 7, 20 (2008).7 To establish a likelihood of success on the merits, the

 

7 The Second Circuit has, at times, formulated this standard differently For example, a party seeking a preliminary
injunction may demonstrate the existence of “a serious question going to the merits to make them a fair ground for

trial, with a balance of hardships tipping decidedly in [its] favor,” rather than a likelihood of success on the merits
Citigroup Global Mkts., Inc_ v. VCG Special Onportunities Master Fund I_.td., 598 F.3d 30, 35 (2d Cir. 2010); se_e

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party seeking an injunction “need only make a showing that the probability of his prevailing is

better than fifty percent.” Eng v. Smith, 849 F.2d 80, 82 (2d Cir. 1988)', see also Nken v. Holder,

 

556 U.S. 418, 434 (2009) (“lt is not enough that the chance of success on the merits be ‘better
than negligible.”’ (quoting Sofmet v. INS, 188 F.3d 703, 707 ('7th Cir. 1999))). When an
injunction is “mandatory,” however-that is, when the injunction “alter[s] the status quo by
commanding some positive act”~the movant must demonstrate a “clear” or “substantial”
showing of likelihood of success Tom Dohertv Assocs., lnc. v. Saban Entm’t, lnc., 60 F.3d 27,
34 (2d Cir. 1995). To obtain a mandatory injunction, a movant must also “make a strong
showing of irreparable harm.” State of New York ex rel. Schneidennan v. Actavis PLC, 787
F.3d 638, 650 (2d Cir. 2015) (internal quotation marks and citations omitted).
III. DISCUSSION

For the reasons that follow, Plaintiffs have demonstrated that they are entitled to a
preliminary injunction against implementation of the DACA Rescission Memo.

A. Likelihood of Success on the Merits

First, Plaintiffs are substantially likely to succeed on the merits of their claim that

Defendants’ decision to end the DACA program was substantively arbitrary and capricious8

 

a_lsg § at 35-38 (holding that this “serious questions” standard survives Winter and other Supreme Court cases
applying a “likelihood of success on the merits” standard). The Second Circuit’s “serious questions” standard does
not apply, however, “[w]hen . . . a preliminary injunction will affect government action taken in the public interest
pursuant to a statute or regulatory scheme.” Friends of the East Hamnton Airnort, lnc. v. Town cf East Hampton,
841 F.3d 133, 143 (2d Cir. 20l6) (internal quotation marks and citation omitted). The court need not decide Whether
the more permissive “serious questions” standard applies here, as Plaintiffs concede that the “likelihood of success”
standard applies here and have met this standard See generally Haitian Ctrs. Council1 Inc. v. Mcl\lag, 969 F.2d
1326, 1338-39 (2d Cir. 1992) (“serious questions” standard applies when challenged governmental action is not
specifically authorized by statute or regulation), cert. granted and judgment vacated as moct, Sale v. Haitian Ctrs.

council inc., 509 U.s. 918 (1993).

 

3 The court need not decide whether the injunction sought by Plaintiffs is “mandatory,” in that it would compel
Defendants to take affirmative acts to adjudicate DACA applications and renewal requests, or non~rnandatory, in
that it would only preserve the status quo as of September 4, 2017. Because Plaintiffs have demonstrated a “clear”
or “substantial” likelihood of success on the merits, they are entitled to a preliminary injunction regardless of the
standard that appliesl

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Plaintiffs contend that this decision violated APA § 706(2)(A) because, among other things, it
was based on an erroneous legal conclusion that DACA was unlawful, failed to consider
important aspects of the problem, and was internally contradictory (BV Pls. Mot. at 11~20, 23-
27; State Pls. l\/lot. at 5-13.) Defendants aver, however, that the decision reflects a reasonable
assessment of litigation risk. (Defs. Opp’n at l, 10~13, 15~24.) Based on the record before it, the
court concludes that Plaintiffs, not Defendants, are substantially likely to be correct

l. The Stated Rationale for Rescinding DACA Appears To Be Arbitrary and
Capricious

Plaintiffs have identified at least three respects in which Defendants’ decision to rescind
the DACA program appears to be arbitrary, capricious, and an abuse of discretion First, the
decision rests on the erroneous legal conclusion that the DACA program is unlawful and
unconstitutional. Second, the decision rests on the erroneous factual premise that courts have
determined that the DACA program violates the Constitution. Third, the stated rationale for that
decision is internally contradictory, as Defendants have continued to grant DACA renewal
requests despite ending the DACA program on the grounds that it is, by their lights,
unconstitutional The court addresses each of these reasons in turn.

a. The Decz`sion Rel'ies on the illegally Erroneous Premr'se that DACA
Is Illegal

An agency decision that is based on an erroneous legal premise cannot withstand
arbitrary-and-capricious review. §§ 5 U.S.C. § 706(2)(A). lt is well-established that when
“[agency] action is based upon a determination of law as to which the reviewing authority of the
courts does come into play, an order may not stand if the agency has misconceived the law.”
Chenery l, 318 U.S. at 94. Accordingly, numerous courts have recognized that agency action
based on a misconception of the applicable law is arbitrary and capricious in substance _S;c§,

gg¢, Yale-New Haven Hosn. v. Leavitt, 470 F.3d 7l, 86~87 (2d Cir. 2006); Transitional Hosps.

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Corp. of La., lnc. v. Shalala, 222 F.3d 1019, 1029 (D.C. Cir. 2000) (Garland, .l.)', see also

 

Planned Parenthood Fed. of Am., lnc. v. Heckler, 712 F.2d 650, 666 (D.C. Cir. 1983) (Bork, J.,
concurring in part and dissenting in part) (“lf a regulation is based on an incorrect view of
applicable law, the regulation cannot stand as promulgated . . . .” (internal quotation marks and
citation omitted)). That is no less true when an agency takes some action based on an erroneous
view that the action is compelled by law, notwithstanding that the agency could have taken the
same action on policy grounds. “An agency action, however permissible as an exercise of
discretion, cannot be sustained ‘where it is based not on the agency’s own judgment but on an
erroneous view of the law.”’ Sea~Land Serv.‘_lnc. v. Dep’t of Trang)_., 137 F.3d 640, 646 (D.C.
Cir. 1998) (quoting Prill v. NLRB, 755 F.2d 941, 947 (D.C. Cir. 1985)). This rule is consistent
with cases from outside the administrative-law context, which make clear that a decision based
on “an erroneous view of the law” is “by defrnition” or “necessarily” an abuse of discretion.
Koon v. United States, 518 U.S. 8l, 100 (1996)', Cooter & Gell v. Hartmarx Co;p_., 496 U.S. 384,
405 (1990). This rule also ensures that agencies are accountable for their decisions: lf an agency
makes a decision on policy grounds, it must say so, not act as if courts have tied its hands. The

court therefore considers whether Defendants’ decision to rescind the DACA program relied on

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an erroneous view of the law. This review is de novo. 5 U.S.C. § 706; J. Andrew Lange, lnc. v.
lamb 208 usa 389, 391 (2d cir. 2000).9

Fairly read, the Sessions Letter and DACA Rescission Memo indicate only that
Defendants decided to end the DACA program because they believed that it was illegal (While
Defendants now argue that the decision was based on “litigation risk,” the record does not
support this contention, as the court explains below.) The DACA Rescission Memo offers no
independent legal reasoning as to why Defendants believed the DACA program to be unlawful,
so the court turns to the Sessions Letter. ln that letter, the Attorney General offered two
discernible bases for his opinion that the DACA program violated the law and should end: first,
that it was unconstitutional, and second, that it “has the same legal and constitutional defects that

the courts recognized as to DAPA.” (Sessions Ltr.) Neither conclusion is sustainable

 

9 While in other contexts, an agency’s interpretation of a statute it is charged with administering may be entitled to
deference, Chevron, U.S.A., lnc. v. Nat. Res. Def. Council. inc., 467 U.S. 837, 842-43 (1984), Defendants have not
argued that their interpretation of the legality of the DACA program is entitled to formal or controlling deference
That is for good reason. Because neither the Sessions Letter nor the DACA Rescission Memo carry the “force of
law,” they do not warrant Chevron deference United States v. Mead Co;p., 533 U.S. 218, 226-27 (2001).
Moreover, Defendants’ views about the legality of the DACA program turn not only on whether that program was
consistent with the INA (their interpretations of which are entitled to deference, §§ INS v. Aguirre-Aguirre, 526
U.S. 415, 424-25 (1999)), but also whether that program constituted a “substantive rule” under the APA. Because
Defendants are not charged with implementing the APA, their views about whether the DACA program should have
been implemented through notice-and-cornment rulemaking are not entitled to deference _S£e Shell Offshore lnc. v.
Babbitt, 238 F.3d 622, 627 (Sth Cir. 2001). Finally, it almost goes without saying that, to the extent Defendants
determined that the DACA program was unconstitutional, that determination does not warrant Chevron deference

 

 

Some academic commentators have offered interesting arguments as to why courts should review deferentially
Defendants’ decision to end the DACA program. See, eg., J osh Blackrnan, Understanding Sessions’s Justification
to Rescind DACA, Lawfare (Jan. 16, 2018, 8:00 AM), https://www.lawfareblog.comfunderstanding-sessionss~
justification-rescind-daca (arguing, based on an “admittedly charitable” reading of the Sessions Letter, that Regents
erred by, among other things, failing to consider how the Attorney General’s independent duty to defend the
Constitution supported his decision to recommend ending the DACA program); Zachary Price, Why Enjoining
DACA’s Cancellation ls Wrong, Take Care Blog (Jan. 12, 20l8), https'.//takecareblog.com/blog/why~enjoining-
daca-s-cancellation-is-wrong (arguing that “[i]nsofar as DACA was simply an exercise of enforcement discretion,
any explanatory burden with respect to its reversal must be minimal”). Defendants themselves have not pressed
these arguments before this court, arguing instead that, if their decision is indeed subject to judicial review, it should
be reviewed under the ordinary arbitrary-and~capricious standard of APA § 706(2)(A). (Defs. Opp’n at 10-11.)

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i. The Attomev General Erred in Concluding that DACA ls
Unconstitutional

 

As noted above, the Attorney General concluded that DACA was unconstitutional
because it “was effectuated by the previous administration through executive action, without
proper statutory authority and with no established end-date, after Congress’ repeated rejection of
proposed legislation that would have accomplished a similar result” and “an open-ended
circumvention of immigration laws.” (Sessions Ltr.) This conclusory statement does not
support the proposition that DACA is unconstitutional

DACA is not unconstitutional simply because it was implemented by unilateral,
executive action without express congressional authorization The Executive Branch has wide
discretion not to initiate or pursue specific enforcement actions. Ql_i@ey, 470 U.S. at 831-32.
immigration officials have particularly “broad discretion” in deciding whom to deport, deriving
both from the considerations specific to the Executive Branch in the foreign-policy arena,
A_rilqlm, 567 U.S. at 396, and from the fact that far more removable aliens reside in this country
than DHS has resources to deport, OLC Op. at l', gea_lso Adam B. Cox & Cristina M.
Rodriguez, The President and lmrnigration Law, l 19 Yale L.J. 45 8, 510-19 (2009). Every
modern presidential administration has relied on extra-statutory discretionary~relief programs to
shield certain removable aliens from deportation Far from cabining this authority, Congress has
amended the INA in ways that expressly acknowledge the Executive Branch’s power to decline
to initiate removal proceedings against certain removable aliens lt thus cannot be the case that,
by recognizing that certain removable aliens represented lower enforcement priorities than
others, the DACA program violates the Constitution.

Nor is DACA unconstitutional because it identified a certain category of removable

aliens_-individuals who were brought to the United States as children, lacked meaningful

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criminal histories, and had met educational or military-service requirements-as eligible for
favorable treatment The court is aware of no principled reason why the Executive Branch may
grant deferred action to particular immigrants but may not create a program by which individual
immigrants who meet certain prescribed criteria are eligible to request deferred action lt is
surely within DHS’s discretion to determine that certain categories of removable alien»felons
and gang members, for example~are better uses of the agency’s limited enforcement resources
than law-abiding individuals who entered the United States as children lndeed, unless deferred-
action decisions are to be entirely random, they necessarily must be based at least in part on
“categorica ” or “class-based” distinctions §e§ A;paio v. Obama, 27 F. Supp. 3d 185, 210
(D.D.C. 2014) (DACA “helps to ensure that the exercise of deferred action is npl arbitrary and
capricious, as might be the case if the executive branch offered no guidance to enforcement
officials lt would make little sense for a Court to strike down as arbitrary and capricious
guidelines that help ensure that the Nation’s immigration enforcement is not arbitrary but rather
reflective of congressionally-directed priorities.”). The court cannot see how the use of such
distinctions to define eligibility for a deferred~action program transforms such a program from
discretionary agency action into substantive lawmaking and (somehow) an encroachment on the
separation of powers

Lastly, DACA is not unconstitutional because, as the Attomey General put it, that
program was implemented “after Congress’ repeated rejection of proposed legislation that would
have accomplished a similar result.” (Sessions Ltr.) The “proposed legislation” to which the
Attorney General referred would not have “accomplished a similar result” to DACA. The
DREAM Act, in its many variations, would have offered its beneficiaries a formal immigration

status and a pathway to lawful permanent residency See, e.g., Development, Relief, and

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Education for Alien l\/linors Act of2011, S. 952 (l 12th Cong.); _l§§ge_n:t§, 2018 WL 339144, at 20
n.15 (collecting proposed legislation). DACA, on the other hand, offers only forbearance from
deportation along with work authorization and does n_ot provide an immigration status or a
pathway to citizenship (2012 DACA Memo at 4.)

Even if the DREAl\/l Act had offered benefits similar to those conveyed by DACA, it
does not follow that Congress’s failure to enact a DREAl\/l Act precluded the Bxecutive Branch
from enacting the DACA program The court does not see how executive action, taken either
“pursuant to an express or implied authorization of Congress” or “in the absence of either a
congressional grant or denial of authority,” becomes unconstitutional simply because Congress
has considered and failed to enact legislation that would accomplish similar ends. &e
Youngstown Sheet & Tube Co. v. Sawver, 343 U.S. 579, 635~37 (1952) (Jackson, J.,
concurring). Fruitless congressional consideration of legislation is not itself law, §§ U.S. Const.
art. l, § 7, cl. 2, and is an unconvincing basis for ascertaining the “implied will of Congress” to
oust the President from acting in the space contemplated by the proposed but un-enacted
legislation s_ee Youngstown Sheet & Tube, 343 U.S. at 637 (Jackson, J., concurring). lt strikes
the court as improbable that, if the President has some authority, any l\/lember of Congress can
divest the President of that authority by introducing unsuccessful legislation on the same subj ect.

To the extent the decision to end the DACA program was based on the Attorney
General’ s determination that the program is unconstitutional, that determination was legally
erroneous, and the decision was therefore arbitrary and capricious The court does not address
whether the DACA program might be unconstitutional on grounds other than those identified by

the Attorney General, as any such grounds are not fairly before the court.

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ii. The Attornev General Erred in Concluding that DACA Has the
“Sarne Legal and Constitutional Defects that the Courts
Recognized as to DAPA”

Nor can the Attorney General’s determination that DACA is unlawful rest on the ground
that “the DACA policy has the same legal and constitutional defects that the courts recognized as
to DAPA.” (Sessions Ltr.) That rationale is arbitrary and capricious not only because it is
premised on an obvious factual mistake that courts had recognized “constitutional defects” in
DAPA, as the court explains in the next subsection but also because it is legally erroneous. The
Southern District of Texas enjoined the implementation of the DAPA program on the grounds
that DAPA was not promulgated through notice~and~comment rulemaking, and the Fif`th Circuit
affirmed, adding the additional ground for affirmance that DAPA was substantively arbitrary and
capricious because it conflicted with the lNA. The court is unpersuaded that either ground
applies to DACA.

(D DACA Was Not a Legislative Rule.

DACA does not appear to have been a “legislative” rule that was subject to notice~and-
comment rulemakingl The APA generally requires agencies to make “rules” through notice-and-
comment procedures, but provides an exception for “interpretative rules, general statements of
policy, or rules of agency organization, procedure, or practice.” 5 U.S.C. § 553. The line
between legislative rules (which are subject to notice and comment) and non~legislative rules
(which are not) is not always clear. _S§e Chrysler Co;p. v. Brown, 441 U.S. 281, 301~03 (1979);
Noel v. Chapman, 508 F.2d 1013, 1029~30 (2d Cir. 1975) (characterizing this distinction as
“enshrouded in considerable smog”). ln general, however, “legislative rules are those that
‘create new law, rights, or duties, in what amounts to a legislative act.”’ Sweet v. Sheahan, 235

usa so, 91 (2d cir. 2000) (qu@ang white v. shalala 7 usa 296, 303 (2d cir. 1993)). A rule is

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legislative if it creates a “binding norrn.” Bellarno lnt’l Ltd. v. FDA, 678 F. Supp. 410, 412
(E.D.N.Y. 1988) (quoting Am. Bus Ass’n v. United States, 627 F.2d 525, 529 (D.C. Cir. 1980)).
General statements of policy, on the other hand, do not “change ‘existing rights and obligations”’
of those regulated, but instead state the agency’s “general policy” or “are rules directed primarily

at the staff of an agency describing how it will conduct agency discretionary functions.” Noel,

 

508 F.Zd at 1030 (quoting Lewis-Mota v. Sec’v of Labor, 469 F.2d 478, 482 (2d Cir. 1972))
(internal quotation marks and additional citation omitted); gallo Chrysler, 441 U.S. at 302
n.31 (“General statements of policy are statements issued by an agency to advise the public
prospectively of the manner in which the agency proposes to exercise a discretionary power.”
(internal quotation marks and citation omitted)).

On its face, the 2012 DACA l\/lemo is plainly a “general statement of policy,” not a
substantive rule. rfhat memo described how, as a matter of agency policy, DHS would exercise
its prosecutorial discretion with respect to a discrete class of individuals without lawful
immigration status, and directed DHS staff to implement procedures to facilitate that exercise of
discretion, Most importantly, the memo stated that it created no substantive right, that all DACA
applications would be adjudicated on an individualized basis, and that the agency retained
discretion to deny or revoke deferred action or work authorization Based on the text of the 2012
DACA Memo, the court cannot say that the creation of the DACA program either “imposed any
rights and obligations” on DHS or the public, or did not “genuinely [leave] the agency and its
decisionmakers free to exercise discretion.” Clarian Health W., LLC v. Hargan, 878 F.3d 346,
357 (D.C. Cir. 2017) (internal quotation marks and citation omitted).

To determine whether a rule is properly classed as “legislative” or as a “ general statement

of policy,” some courts have also considered whether the agency has characterized or treated the

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rule as binding id ln determining that the DAPA program constituted a legislative rule, the
Southern District of Texas focused on the purportedly binding effect that DAPA would have on
the agency. B)La§, 86 F. Supp. 3d at 668-72. Judge Hanen reached that conclusion by
determining that DACA had been implemented in such a way as to deprive agency employees of
true discretion to evaluate DACA applications on a case-by~case basis, including that (1) the
“operating procedures” for implementing DACA were quite long', (2) DACA applications were
adjudicated by service-center staff, not field-office employees, using a check-the~box form', (3)
certain DACA denials were subject to review by a supervisor; (4) “there is no option for granting
DAPA to an individual who does not meet each criterion”; and (5) nearly all DACA applications
were granted, and those that were denied were uniformly denied for mechanical reasons or fraud.
l_c_l_. at 669 & nn.98-101.

The court respectfully finds the Southern District of Texas’s analysis unpersuasive First,
that court appears to have conflated the discretion of the gge_r@; with that of individual USCIS
employees (_Sg Br. for the United States at 68-71, Texas v. United States, 136 S. Ct. 2271
(2016) (No. 15-674).) The 2012 DACA Memo indicated how DHS would exercise its discretion
by treating certain individuals as lower priorities for removal. Because the 2012 DACA Memo
created no substantive rights, it in no way constrained the age_ng’ s discretion in the enforcement
of immigration laws, even if it might have affected how rank-and-file USCIS employees
reviewed specific requests for deferred action. (&§ i$) 7 Second, even accepting that the relevant
focus of this inquiry is the discretion of rank-and-file employees, the court views the first four
factors on which the Southern District of Texas relied as insufficient to support an inference that
DHS did not exercise discretion in adjudicating DACA applications As for the fifth factor»that

DHS supposedly granted too many DACA applications’the court finds persuasive the

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observation by the dissenting judge in the Fifth Circuit that the district court appears to have
erroneously conflated rejections of DACA applications, which were made on intake for
mechanical reasons, and demia_ls_, which were made “when a USCIS adjudicator, on a case-by-
case basis, determines that the requestor has not demonstrated that they satisfy the guidelines for
DACA or when an adjudicator determines that deferred action should be denied even though the
threshold guidelines are met.” :l`i)@_s, 809 F.3d at 210 (King, J., dissenting). To the contrary, as
of December 2014, DHS had denied nearly 40,000 DACA applications out of the more than
700,000 applications accepted for processing at USCIS service centers, and rejected more than
40,000 applications for administrative reasons. ii at 210 n.44. This rejection rate hardly
“suggests an agency on autopilot” and is “unsurprising given the self-selecting nature of the
program.” ld_. at 210 & n.44; §@al_sg M, 27 F. Supp. 3d at 209 n.13 (noting that similar
statistics “reflect that . . . case~by-case review is in operation”). To the extent Defendants rely on
lelas for the proposition that the DACA program (which was not challenged in that litigation)
was illegal because it was not made through notice-and»comment rulemaking, such reliance is
arbitrary and capricious
(ID DACA Does Not Conjlict with the INA

Nor may Defendants rely on ;l:exa§ for the proposition that the DACA program conflicts
with the INA. As noted above, the Fifth Circuit held that the DAPA program was not only
procedurally invalid, but also substantively arbitrary and capricious because it conflicted with the
rNA. ;r_e>@§, 809 rsa ar 178-sa fha is because, in the view urine raab circuit the rNA
prescribes the exclusive means by which aliens may obtain “lawful immigration classification
from their children’s immigration status,” and because Congress could not have intended to

delegate to DHS the authority to designate approximately four million undocumented

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immigrants as lawfully present and able to work in this country. _S§e g To the extent
Defendants relied, without additional explanation, on this decision as grounds for ending the
DACA pro gram, they acted arbitrarily and capriciously, for two reasons.

First, not all the grounds on which the Fifth Circuit decided that DAPA was substantively
arbitrary and capricious apply to the DACA program. For example, the Fifth Circuit inferred
that by creating procedures by which alien parents of U.S. citizens may obtain lawful status,
Congress implicitly prohibited the Executive Branch from granting deferred action and work
authorization to such individuals based on more permissive criteria. Even if the court were to
accept that dubious logic, it would not apply to DACA, because there is no analogous procedure
by which aliens brought to the United States as children may seek to obtain lawful status on that
basis. (BV Pls. Mot. at 25', Br. of Arnicus Curiae Legal Services Organizations (Dkt. 193) at 6.)
The Fifth Circuit also relied extensively on the magnitude of the DAPA pro gram, reasoning that
Congress could not have intended the Executive Branch to decide whether more than four

million undocumented immigrants could obtain deferred action and work authorization Texas,

 

809 F.3d at 179, 181-82, 184 & n.197. Again, even accepting that proposition, it is not clear
why it would apply to the DACA pro gram, which is open to far fewer individuals than DAPA
would have been, and which is roughly the same scale as the Family 1Eairness program enacted
by the Reagan and George H.W. Bush Administrations in the 1980s

Second, to the extent that the 1Fifth Circuit’s rationale applies to the DACA program, the
court finds it unpersuasive lt does not follow that by prescribing procedures by which some
aliens may obtain lawful status, Congress implicitly barred the Executive Branch from granting
those or other aliens deferred action and work authorization, a relatively meager and unstable set

of benefits (if, indeed, they can even be described as such). Nor is the court convinced that by

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expressly recognizing that certain discrete populations of aliens are eligible for deferred action,
Congress implicitly precluded the Executive Branch from according deferred action to other
aliens', to the contrary, the court views these enactments as ratifying the Executive Branch’s
longstanding historical practice, rooted in the INA, of forbearing from pursuing deportation
proceedings against particular aliens and categories of alien. The court respectfully finds the
Fifth Circuit’s attempts to distinguish DAPA from prior discretionary-relief programs
unpersuasive, as this court does not see what in the INA permits immigration officials to accord
discretionary relief ‘°on a country-specific basis,” as a “bridge[] from one legal status to another,”
or as an adjunct to “a statutory legalization scheme,” § at 184, but not to generally law-abiding
parents of U.S. citizens or lawful permanent residents-or, for that matter, individuals who were
brought to the United States as children

For these reasons, and for the reasons stated by the Office of Legal Counsel, the dissent
in fagg and by the Office of the Solicitor General in its brief to the U.S. Supreme Court in
:chs, the court concludes that DACA is lawful and not arbitrary, capricious, or contrary to the
INA. §ee Igr_a§, 809 F.3d at 214~18 (King, J., dissenting)', OLC Op.; Br. for the United States at
61-65, Texas v. United States, 136 S. Ct. 2271 (2016) (No. 15-674). Defendants acted arbitrarily
and capriciously by ending the DACA program based on the erroneous legal conclusion that
DACA is either tmconstitutional or “has the same legal and constitutional defects that the courts
recognized as to DAPA.”

b. The Decisiort Relies on a Factually Erroneous Premise that Courts
Have Determined that DACA Is Unconstituttonal

This conclusion was also arbitrary and capricious because it is based on an obvious
factual mistake ln concluding that the Southern District of Texas and Fifth Circuit would enjoin

the continued operation of the DACA program, Defendants appear to have relied on the premise

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that those courts have recognized “constitutional defects . . . as to DAPA.” (Sessions Ltr.',
DACA Rescission l\/lemo at 3 .) This premise is flatly incorrect The Southern District of Texas
enjoined the implementation of DAPA, and the Fifth Circuit affirmed that injunction, on the
grounds that DAPA violated the APA. 809 F.3d at 170~86; 86 F. Supp. 3d at 665~72. Both
courts expressly declined to reach the plaintiffs’ constitutional claim that DAPA violated the
Take Care Clause of the U.S. Constitution, s_e_e U.S. Const. art. Il, § 3, or the separation of
powers. 809 F.3d at 154; 86 F. Supp. 3d at 677. Defendants do not attempt to defend this
factual premise as correct. (QL Dcfs. Opp’n at 26-27.)

This error alone is grounds for setting aside Defendants’ decision. “[A]n agency decision
is arbitrary and must be set aside when it rests on a crucial factual premise shown by the
agency’s records to be indisputably incorrect.” Mizerak v. Adams, 682 F.2d 374, 376 (2d Cir.
1982); Ye_glso State Farm, 463 U.S. at 43 (agency acts arbitrarily and capriciousiy by “offer[ing]
an explanation for its decision that runs counter to the evidence before the agency”); C_ity_of
Kansas City1 Mo. v. Dep’t of Hous. & Urban Dev., 923 F.2d 188, 194 (D.C. Cir. 1991) (“Agency
action based on a factual premise that is flatly contradicted by the agency’s own record does not
constitute reasoned administrative decisionmaking, and cannot survive review under the arbitrary
and capricious standard.”). Because neither the Southern District of Texas nor the Fifth Circuit
“recognized” any “constitutional defects” in the DAPA policy, Defendants’ reliance on this
erroneous factual premise was arbitrary and capricious

Nor was this error harmless Although judicial review under the APA takes “due account
. . . of the rule of prejudicial error,” 5 U.S.C. § 706, “the standard for demonstrating lack of
prejudicial error is strictl ‘Agency mistakes constitute harmless error [under APA § 706] only

where they clearly had no bearing on the procedure used or the substance of decision reached.”’

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N.Y. Pub. lnterest Research Grp. v. Whitman, 321 F.3d 316, 334 n.13 (2d Cir. 2003) (alteration
in original) (quoting Sierra Club v. U.S. Fish & Wildlife Serv., 245 F.3d 434, 444 (Sth Cir.
2001)). That cannot be said here, as the Attorney General’s opinion that DACA was unlawful
appears to have been based in significant part on his judgment that the program was
unconstitutional and on the firms courts’ decision to enjoin implementation of DAPA. The
current record furnishes no basis for this court to conclude that the Attorney General would have
reached the same conclusion had he correctly understood the holdings of the I£)Qs courts.
c. The Decist`on ’s Rationale IS Internally Contradt'ctory

Finally, Defendants’ decision to rescind the DACA program was arbitrary and capricious
because it appears to be internally inconsistent M, Nat’l Res. Def. Council v. U.S.
Nuclear Reg_ulatorv Comm’n, I F.3d _-, 2018 WL 472547, at *9 (D.C. Cir. 2018) (“Of course,
it would be arbitrary and capricious for the agency’s decision making to be ‘internally
inconsistent.”’ (citation omitted)); Gen. Chem. Co;p. v. United States, 817 F.2d 844, 846 (D.C.
Cir. 197 8) (per curiam) (vacating decision based on “internally inconsistent and inadequately
explained” analysis). Defendants clearly ended the DACA program at least partly because the

Attorney General viewed the program as unconstitutional.l° (Sessions Ltr.; DACA Rescission

_H_____H__m__H_-_~_-~_

m lt is not clear that the Attorney General’s views are those of the Administration he serves. On September 5, 2017,
President Trump tweeted that “Congress now has 6 months to legalize DACA (sornething the Obarna
Adrninistration Was unable to do). If they can’t, I will revisit this issuel” (Donald J. Trump, @realdonaldtiurnp,
Twitter.com (Sept. 5, 2017, 7 138 PM), https:f/twitter.com/realdonaldtrump/statusf%5228667336499200.) lt is not
clear how the President would “revisi ” the decision to rescind the DACA program if the DACA program were, as
the Attorney General has stated, “an unconstitutional exercise of authority by the Executive Branch.” (Sessions Ltr.)
§§e J osh Blackman, Trump’s DACA Decision Defles All Norrns: The President’s lncompetence Continues to
Temper His Malevolence, Foreign Policy (Sept. 7, 2017 , 1:26 PM), http:ffforeignpolicy.corn/20 l7/09/07/'trumps-
daca-decision-defies-all-normsf. Defendants’ contention that the President simply “ernphasized the need for
legislative action and expressed fhis] intention to revisit Adrninistration policies on childhood arrivals_not the
legality and defensibility of the DACA program»if Congress did not timely act” (Defs. Opp’n at 33) is unsupported
by the text of the President’s tweet.

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l\/lemo at 3.)111 Rather than terminating the program forthwith, however, Acting Secretary Duke
directed her subordinates to begin a phased “wind-down of the pro gram,” under which DHS
would continue to renew DACA applications that were set to expire in the next six months and
would honor existing DACA benefits until they expired. The means by which Defendants ended
the DACA program thus appear to conflict with their stated rationale for doing so. lf the DACA
program was, in fact, unconstitutional, the court does not understand (nor have Defendants
explained) why Defendants would have the authority to continue to violate the Constitution,
albeit at a reduced scale and only for a limited time.

lt is true but immaterial that the DACA Rescission memo provided that DHS would
adjudicate all remaining DACA applications and renewal requests “on an individual, case-by-
case basis.” (DACA Rescission l\/lemo at 4.) The 2012 DACA l\/lemo also stated that all DACA
applications and renewal requests would be considered on an individual, case~by-case basis
(2012 DACA l\/lemo at 1-3), but, in Defendants’ view, that was insufficient to render the
program lawful. l\/lore importantly, if DHS could render the DACA program constitutional by
adjudicating the remaining DACA applications and renewal requests on an “individual, case-by-
case” basis, then there was nothing inherently unconstitutional about the DACA programH-only
how rank-and-file USCIS employees were implementing that pro gram-and a key reason for
ending that program would disappear.

Defendants attempt to sidestep this problem by arguing that there was nothing inherently
contradictory about Acting Secretary Duke’s decision to allow the DACA program “to gradually

sunset” despite having “concern[s] about [the program]’s legality.” (Defs. Opp’n at 30.) The

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11 Defendants’ arguments that “Plaintiffs identify nothing contradictory about the Acting Secretagg’s stated
justification for the [decision to rescind the DACA program]” (gf_. Defs. Opp’n at 29-30) are thus once again belied
by the record_

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record makes clear, however, that Defendants ended the program because they believed it to be
unconstitutional and unlawful, not because they had “concern[s]” about its legality. (Sessions
Ltr.; DACA Rescission Memo at 3~4.) Defendants’ post hoc rationalization is thus unavailing
At the very least, Defendants’ failure to acknowledge and explain the apparent conflict between
their determination that the DACA program was unconstitutional and their plan to continue
adjudicating a subset of DACA renewal requests renders their decision arbitrary and capricious

2. Defendants’ Alternative Grounds for Upholding the DACA Rescission
Are Unpersuasive

Defendants offer two reasons why the court should uphold the decision to end the DACA
program First, they argue, that decision was reasonable in light of the risk that the plaintiffs in
the :l`_ex§ litigation would amend their complaint to challenge the DACA program and that the
Southern District of Texas would strike down the DACA program. (Lg;, Defs. Opp’n at 11.)
Second, they argue that the court should construe the Attorney General’s legal judgment that the
DACA program was unlawful as an “independent policy judgment . . . that immigration
decisions of this magnitude should be left to Congress.” (Defs. Opp’n at 25.) Neither argument
is persuasive

a. The DACA Resct'sst`on Cannot Be Susta.t'ned on the Basis of
Dej%ndants ’ “Litt'gation Rt'sk” Argument

Defendants frame the decision to end the DACA program as motivated primarily by
“litigation risk.” (ld. at l, 10-13, 15-24.) ln their view, Acting Secretary Duke considered the
Government’s losses in the 'l`exas v. United States litigation and the threat by some of the
plaintiffs in that litigation to challenge the DACA program and ultimately “concluded that
maintaining the DACA [program] would, in all likelihood, result in another nationwide

injunction plunging the policy, and its nearly 800,000 recipients, into immediate uncertainty.”

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(ch at 11.) That decision, they argue, was reasonable, not arbitrary or capricious, “particularly in
view of the near~certain litigation loss in the pending T_e@ lawsuit.” (l_d_.)

The record does not support Defendants’ contention that they based their decision on a
reasonable assessment of litigation risk. As the court has previously noted, the record, fairly
read, indicates that Defendants ended the DACA program because they believed it to be illegal.
The only basis for Defendants’ “litigation risk” argument is the Attorney General’s statement
that, because DACA shared the flaws of the DAPA pro gram, “it is likely that potentially
imminent litigation would yield similar results with respect to DACA.” (Sessions Ltr.) This is
too thin a reed to bear the weight of Defendants’ “litigation risk” argument While the court
must uphold an agency decision “of less than ideal clarity . . . if the agency’s path may
reasonably be discerned,” Bowman Transp., lnc. v. Ark.-Best Fi'eight Sys., lnc., 419 U.S. 281,
286 (1974), the court cannot discern a reasoned assessment of “litigation ris ” in this conclusory
statement §§e_al_sg Chenery ll, 332 U.S. at 196-97 (stating that the grounds on which an agency
reaches its decision “must be set forth with such clarity as to be understandable lt will not do for
la court to be compelled to guess at the theory underlying the agency’s action; nor can a court be
expected to chisel that which must be precise from what the agency has left vague and
indecisive.”). The Administrative Record does not indicate, for example, that the Attorney
General made any reasoned assessment of the likelihood that DACA would be struck down in
light of its similarities to, or differences from DAPA; that he considered any potential defenses to
the ‘°potentially imminent litigation”; that he acknowledged contrary rulings by other courts; or
that he assessed whether Department of Justice resources would be better spent elsewhere The

court thus cannot conclude that the Attomey General actually considered “litigation risk” in any

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meaningful sense. Absent Defendants’ post hoc explanations, the court would not have guessed
that Defendants made their decision for this reason.

The court views this “litigation risk” rationale as a mere post hoc rationalization, which is
insufficient to withstand arbitrary-and-capricious review. State Faim, 463 U.S. at 50; Burlington
Truck Lines, 37l U.S. at l68-69. lndeed, it is telling that, to substantiate their argument that the
DACA rescission was motivated by concern for DACA recipients and a desire to avoid a
disorderly shut-down of the program, Defendants resort to a press release, issued by Acting
Secretary Duke, that fleshes out her reasons for ending the DACA program. (Defs. Opp’n at 12
(quoting Press Release, DHS, Staternent from Acting Secretary Duke on the Rescission of
DACA (Sept. 5, 2017), https‘.//www.dhs.gov/news/ZOl7/09/(}5/statement-acting-secretary-duke-
rescission~deferred-action-childhood-arrivals-daca).) That press release is not in the record,
however, so the court may not consider it. §§ Overton Park, 401 U.S. at 419-20. While
Defendants assert that this rationale is reasonably discernible because Plaintiffs addressed it in
their briefs (Defs. Opp’n at 12), Plaintiffs cannot be faulted for responding to an argument that
Defendants have made throughout this litigation12

Even if the record indicated that Defendants made their decision based on “litigation
risk,” they acted arbitrarily and capriciously in doing so. The Attoiney General’s conclusory
statement that it was “likely that potentially imminent litigation would yield similar results with
respect to DACA” falls well short of the APA’ s “requirement that an agency provide reasoned

explanation for its action.” Fox Television Stations, 556 U.S. at 516. For example, the record

 

12 lodge Alsup found in Regents that “[n]owhere in the administrative record did the Attorney General or [DHS}
consider whether defending the program in court would (01' would not) be worth the litigation ris .” Regents, 2018
WL 339144, at *23. As such, “[t]he new spin by government counsel is a classic post hoc rationalization,” which
“alone is dispositive of the new ‘litigation risk’ rationale.” id

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before the court offers no indication that Defendants considered why the Southern District of
Texas would strike down the DACA program (which was not initially challenged in fagg and
which lacked certain attributes of the DAPA program that were critical to the Fifth Circuit’s
decision that that program was contrary to the lNA). Nor does the record indicate that
Defendants considered-independent of their opinion that DACA was illegal_-why litigating the
rescission of DACA was preferable to litigating the decision to maintain the pro gram. §§e_
Organized Vill. of Kake v. U.S. Den’t ongric., 795 F.3d 956, 970 (9th Cir. 2015) (en banc)
(litigation~risk rationale was arbitrary and capricious where agency’s decision “predictably led to
. . . lawsuit” and “[a]t most . . . deliberately traded one lawsuit for another”). To the extent that
Defendants now argue that their decision was based on a desire to avoid the harms that could
result to DACA beneficiaries from a disorderly end to the program, the record offers absolutely
no indication that Defendants considered these impacts While Defendants ask the court to infer
a persuasive rationale from their conclusory statements and from the Southern District of Texas’s
and Fifth Circuit’s opinions in :l`g@_s_, it is not the court’s job to “supply a reasoned basis for the
agency’s action that the agency itself has not given.” State Farm, 463 U.S. at 43. Even
accepting for the sake of argument that the record provides some support for Defendants’
“litigation risk” rationale, that rationale is so inscrutable and unexplained that reliance upon it
was arbitrary and capricious

Even accepting for the sake of argument that “litigation risk” furnished a discernible,
reasoned basis for Defendants’ decision to end the DACA program, Defendants nevertheless
acted arbitrarily and capriciously by ending that program without taking any account of reliance
interests that program has engendered To withstand review under the APA’s arbitrary-andm

capricious standard, an agency that is changing its policy need not explain why the reasons for

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the new policy are better than the reasons for the old policy, Fox Television Stations, 556 U.S. at
514~15. The agency must nevertheless engage in reasoned decisionmaking, which, among other
things, means that the agency must consider “serious reliance interests” engendered by the
previous policy. id at 515; see also Encino Motorcars_ LLC v. Navarro, 136 S. Ct. 2117, 2l25-
27 (2016).

Plaintiffs identify a number of reliance interests engendered by the DACA pro gram,
including that, in reliance .on the continued existence of the pro gram, DACA recipients have
“raised families, invested in their education, purchased homes and cars, and started careers” (BV
Pls. Mot. at 16; State Pls. Mot. at 9~10); employers have hired, trained, and invested time in their
DACA-recipient employees (BV Pls. l\/lot. at 17; State Pls. l\/lot. at 10); educational institutions
have enrolled DACA recipients who, if they lose their DACA benefits, may be forced to leave
the United States or may see little need to continue pursuing educational opportunities (BV Pls.
Mot. at 17; State Pls. Mot. at 10); and states have expended resources modifying their motor~
vehicle and occupational licensing regimes to accommodate DACA recipients (State Pls. Mot. at
10 & n.lS). The record does not indicate that Defendants acknowledged, let alone considered,
these or any other reliance interests engendered by the DACA program That alone is sufficient
to render their supposedly discretionary decision to end the DACA program arbitrary and
capricious

Defendants’ arguments to the contrary are unpersuasive First, Defendants appear to
argue that they did not need to discuss reliance interests because “controlling legal precedent”
had changed (Defs. Opp’n at lS.) That argument confuses the requirement that the agency
show “that there are good reasons for the new policy” with the requirement that it not ignore

“serious reliance interests that must be taken into account” when amending or rescinding an

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existing policy. Fox Television Stations, 556 U.S. at 515. in any event, it is hard to reconcile
this argument~in effect, that Defendants were compelled to terminate the DACA pro gram-
with their insistence elsewhere that the decision to end the DACA program was discretionary and
the product of reasoned deliberation

Next, Defendants appear to contend that they did not need to consider reliance interests
engendered by the DACA policy because those interests were not “longstanding” or serious, to
the extent they existed. (Defs. Opp’n at 16~17.) lt is true that DACA recipients received
deferred action and work authorization for only two years at a time, that DHS retained discretion
to revoke those benefits at any time, and that the 2012 DACA Merno “confer[red] no substantive
right.” (2012 DACA l\/lemo at 3; Defs. Opp’n at 17.) As a practical matter, however, it is
obvious that hundreds of thousands of DACA recipients and those close to them planned their
lives around the pro gram. lt is unrealistic to suggest that these reliance interests were not
“serious” or “substantia ” simply because DHS retained the ability to terminate DACA
recipients’ deferred action at its discretion

Moreover, the court does not see why the contingent, discretionary nature of DACA
benefits means that, as Defendants argue, DACA recipients had no “legally cognizable reliance
interestsfand certainly not beyond the stated duration” in the continued existence of the DACA
program. (Defs. Opp’n at 17.) ln so contending, Defendants cross-reference their argument,
made in their October 27 Motion to Dismiss, that DACA beneficiaries had no “‘protected
entitlement’ for due process purposes” because ‘“ government officials may grant or deny
[DACA benefits] in their discretion.”’ (Defs. Oct. 27, 2017, Mot. to Dismiss (Dkt. 95) (“Defs.
Oct. 27 MTD”) at 35 (quoting Town of Castle Rock v. Gonzales, 545 U.S. 748, 756 (2005))

(ernphasis added).) Even accepting for the sake of argument that DACA recipients had no

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constitutionally protected liberty or property interests in the continued existence of the DACA
program and the renewal of their particular DACA applications, it does not follow that they had
no re_liag:§ interests therein, such that Defendants were free to end the DACA program without
considering such interests Encino Motorcars is instructive: A car dealer may have not have a
Fifth Amendment entitlement to the Department of Labor’s hewing to a particular interpretation
of the Fair Labor Standards Act, but that does not mean that the Department is free to disregard
reliance interests engendered by the longstanding interpretation of the Act when it alters its
regulations _S_MY- 136 S. Ct. at 2124-26.

Finally, Defendants argue that Acting Secretary Duke effectively considered the relevant
reliance interests by adopting a policy that resulted in an orderly wind-down, rather than an
immediate shut-down of the DACA program (Defs. Opp’n at 17-18.) This is sleight-of-hand
and further post hoc rationalization The record does not indicate that the Acting Secretary
actually considered how the end of the DACA program would affect DACA recipients That her
chosen policy may, in practice, ameliorate the impact of the DACA rescission on DACA
recipients, as compared to an immediate and disorderly shut-down of the program following a
hypothetical injunction in the liz_)rer_s litigation, does not mean that she actually considered this
possibility While the Acting Secretary stated that she “[r]ecogniz[ed] the complexities
associated with winding down the program,” the Sessions Letter makes clear that these
complexities referred to the burdens mgng of winding down the DACA program (Cornpare
DACA Rescission Memo at 4, yv_it_h Sessions Ltr. (“ln light of the costs and burdens that will be
imposed gp_D_l-§ associated with rescinding this policy, DHS should consider an orderly and

efficient wind-down process.” (emphasis added)).)

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Accordingly, even if the record were to support Defendants’ “litigation ris ” rationale,
that rationale would be arbitrary and capricious Finally, even if this rationale were not arbitrary
and capricious, the court would nevertheless likely vacate Defendants’ decision because it is
tainted by the errors discussed in Section lll.A.l above. -“When an agency relies on multiple
grounds for its decision, some of which are invalid, we may nonetheless sustain the decision as
long as one is valid and ‘the agency would clearly have acted on that ground even if the other
were unavailable.”’ l\/lail Order Ass’n of Am. v. U.S. Postal Serv., 2 F.3d 408, 434 (D.C. Cir.
1993) (quoting Svracuse Peace Council v. FCC, 867 F.2d 654, 657 (D.C. Cir. 1989)). To the
extent that Defendants’ “litigation risk” rationale can be discerned from the Administrative
Record and the parties’ submissions in these cases, that rationale appears to be intertwined with
Defendants’ erroneous legal conclusion that the DACA program was unlawfull Because the
court cannot say that Defendants clearly would have made the same decision even had they
correctly understood the law and the holdings of the :l`£)§¢§ courts, that decision is nevertheless
likely arbitrary and capricious See also N.Y. Pub. lnterest Research Grp., 321 F.3d at 334 n.13.

b. The Court Ccmnot Consfrue This Decision as an “Independem
Policy Judgmenf ”

Defendants also contend that, even if the court disagrees with the Attorney General’s
conclusion that DACA is unconstitutional, the court may nevertheless uphold the decision to end
the DACA program because the same facts that led the Attorney General to conclude that the
DACA program is unconstitutional “equally support a policy judgment by the Acting Secretary
that deferred action should be applied only on an individualized case-by-case basis rather than
used as a tool to confer certain benefits that Congress had not otherwise acted to provide by
law.” (Defs. Opp’n at 25 (internal quotation marks and citation omitted).) The record, however,

offers no support for the notion that Defendants based their decision on any “policy judgment

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that immigration decisions of this magnitude should be left to Congress.” (i_cL) Defendants’
argument therefore conflicts with fundamental principles of judicial review of agency action-
namely that the court reviews the agency’s stated reasons for its decision and “rnay not supply a
reasoned basis for the agency’s action that the agency itself has not given.” State Fami, 463 U.S.
at 43; §L_a§g Chenery ll, 332 U.S. at 196; Chenery I, 318 U.S. at 87.

Defendants’ only authority for this novel argument, Syracuse Peace Council, 867 F.Zd at
654, is inappositel in that case, the D.C. Circuit held that when an agency bases its decision on
both a judgment about constitutionality §§ policy reasons, the reviewing court may uphold the
decision if the agency clearly would have reached the same decision for policy reasons alone,
even if the agency stated that its constitutional and policy rationales were “intertwined.” ici at
655-57. Sy§acuse Peace Council does not stand for the proposition that, when an agency bases
its decision on constitutional grounds, a reviewing court may, in the first instance, construe that
decision as having been based on a “policy judgment” found nowhere in the administrative
record.

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For the reasons stated above, the court concludes that Plaintiffs are substantially likely to
prevail on the merits of their claim that the decision to rescind the DACA program was arbitrary,
capricious, and an abuse of discretion,

B. Irreparable Harm

Plaintiffs have also demonstrated that they are likely to suffer irreparable harm if the
court does not enjoin Defendants from fully implementing the DACA rescission

“To satisfy the irreparable harm requirement, Plaintiffs must demonstrate that absent a
preliminary injunction they will suffer an injury that is neither remote nor speculative, but actual

and imminent, and one that cannot be remedied if a court waits until the end of trial to resolve

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the harm.” Grand River Enter. Six Nations, Ltd. v. Prvor, 481 F.?)d 60, 66 (2d Cir. 2007)
(quoting Freedom Holdings, lnc. v. Spitzer, 408 F.3d 112, 114 (2d Cir. 2005)). Irreparable harm
“cannot be remedied by an award of monetary damages.” State of New York ex rel.
Schneiderman, '787 F.3d at 660.

Plaintiffs have extensively documented the irreparable harms they will suffer if the
DACA program ends. Each day, approximately 122 DACA recipients who failed (or were
unable) to renew their DACA status before October 5, 2017, lose their deferred action and work
authorization (BV Pls. Mot at 1~2, 35; State Pls. Mot. at 28.) lf the implementation of the
DACA Rescission l\/lemo is not enjoined, approximately 1,400 DACA recipients will lose
deferred action each work day, beginning on March 5, 2018. (State Pls. Mot. at 28.) As a result,
these individuals will face the possibility of deportation from the country. While this possibility

of deportation is clearly extremely worrisome to DACA recipients, the court declines to grant a

 

 

preliminary injunction on this basis, §e_e MIL\L, 555 U.S. at 21-22; see also Carlsson v. U.S.
Citizenship & immigration Servs., No. 12-CV-'7893 (CAS), 2012 WL 4758118, at *9 (C.D. Cal.
Oct. 3, 2012) (risk of deportation speculative, not imminent, when there were no pending
removal proceedings against the plaintiffs).l3 Nor may the court grant a preliminary injunction
on the grounds that DACA recipients may, for fear of deportation, suffer from anxiety or
depression, lose the “abilit[y] to plan for the future and make commitments, whether familial,
career-based, academic, or otherwise” (BV Pls. Mot. at 37-38), or be required to turn their U.S.

citizen children over to the care of the State Plaintiffs’ child welfare systems, or that public

 

*3 The court notes that Secretary Nielsen recently stated that, even if the DACA program ended, DHS would not
prioritize the removal of DACA recipients who had not committed crimes §ge Louis Nelson, DHS Chief:
Deporting Dreamers Won’t Be a Prioritv for iCE It` Talks Fail, Politico (Jan. 16, 20l8, 8:30 AM),
https'.)'."www.politico.com/story/2()l 8101/16/dhs-dreamers-deportation-not-priority-34068l.

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safety will be hanned because former DACA recipients will be less likely to report crimes and
other harms to the community (State Pls. l\/lot. at 28). Because deportation is, at this point, not
sufficiently “likely” for purposes of establishing irreparable harm, harms accruing from the fear
of deportation are also too speculative to support the grant of a preliminary injunction

Concomitant with the loss of deferred action, however, DACA recipients will also lose
their work authorization As a result, they will be legally unemployable in this country. Some
DACA recipients will lose their employer-sponsored healthcare coverage, which will endanger
DACA recipients and their families (BV Pls. Mot. at 36»37) and impose tremendous burdens on
the State Plaintiffs’ public health systems (State Pls. Mot. at 31~32). Other DACA recipients,
due to the imminent loss of their employment, may lose their homes or need to drop out of
school. (BV Pls. Mot. at 37.) Employers will suffer due to the inability to hire or retain
erstwhile DACA recipients, affecting their operations on an ongoing basis and causing them to
incur unrecoverable economic losses. (l_d_. at 38', State Pls. Mot. at 29~30.) Finaily, the DACA
rescission will result in “staggering” adverse economic impacts, including, by the State
Plaintiffs’ best lights, $215 billion in lost GDP over the next decade, and $797 million in lost
state and local tax revenue (State Pls. l\/lot. at 33 & nn.77-78.) Thus, while it may be true that
“[l]oss of employment does not in and of itself constitute irreparable injury,” Savage v. Gorski,
850 F.2d 64, 67 (2d Cir. 1988), these cases present a “genuinely extraordinary situation”
warranting injunctive relief, Sampson v. Murray, 415 U.S. 61, 92 n.68 (1974).

While the above is sufficient to demonstrate irreparable harm, the court also notes the
obvious fact that the decision to rescind DACA, if carried into effect, will have profound and
irreversible economic and social implications That decision “will profoundly disrupt the lives of

hundreds of thousands of people.” in re United States, 875 F.3d 1200, 1210 (9th Cir. 2017)

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(Watford, J., dissenting). lt may force one out of every four hundred U.S. workers out of the
lawful workforce S_ee Jie Zong et al., “A Profile of Current DACA Recipients by Education,
lndustry, and Occupation,” Migration Policy lnstitute (Nov. 2017),
https://www.migrationpolicy.org/research/profile~current-daca-recipients~education-industry-
and-occupation Former DACA recipients will be separated from their families and
communities lt is impossible to understand the full consequences of a decision of this
magnitude lf the decision is allowed to go into effect prior to a full adjudication on the merits,
there is no way the court can “unscramble the egg” and undo the damage caused by what, on the
record before it, appears to have been a patently arbitrary and capricious decision

Moreover, it is also impossible for the court to adjudicate this dispute on the merits
before March 5, 2018, when these harms will begin to materialize in earnest. Defendants set an
aggressive timetable for ending the DACA program and have pursued various dilatory tactics
throughout this litigation Notably, they have yet to produce a plausible administrative record in
these cases, without which the court cannot render a merits decision Overton Park, 401 U.S. at
420. For these reasons, it is clear that Plaintiffs will suffer substantial and imminent irreparable
harm if the court does not preliminarily enjoin the DACA rescission

Defendants argue that Plaintiffs have not shown that irreparable harm is “imminent, or
even likely, given the preliminary injunction recently issued” in Mg§@. (Defs. Opp’n at 48.)
Defendants are, however, vigorously contesting that injunction before both the U.S. Court of
Appeals for the Ninth Circuit and the U.S. Supreme Court. lf Judge Alsup or the Ninth Circuit
were to lift the injunction in Eths, then Plaintiffs would no doubt suffer irreparable harm.
Defendants cite no authority for the proposition that Plaintiffs cannot establish irreparable harm

simply because another court has already enjoined the same challenged action

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C. Balancing the Equities and the Public Interest

Finally, the court must consider whether “the balance of equities tips in [Plaintiffs’]
favor” and if “an injunction is in the public interest.” WM, 555 U.S. at 20. To make this
decision, the court “balance[sj the competing claims of injury and must consider the effect on
each party of the granting or withholding of the requested relief,” as well as “the public
consequences of employing the extraordinary remedy of injunction” lj_. at 24 (internal
quotation marks and citation omitted). “These factors merge when the Government is the
opposing party.” llk_en, 556 U.S. at 435. The court concludes that these factors Weigh firmly in
Plaintiffs’ favor.

The court need not restate at length the consequences of the DACA rescission for
Plaintiffs, other DACA recipients, those close to them, and the public at large Allowing the
DACA rescission to take immediate effect would quickly cost many DACA recipients the
opportunity to work legally in this country, and hence to support themselves and their families
Enjoining the implementation of the DACA Rescission Memo would also preserve the status
quo, enabling a full resolution of this matter on the merits, rather than allowing severe social
dislocations to unfold based on an agency decision that, as noted above, strongly appears to have
been arbitrary and capricious The public interest is not served by allowing Defendants to
proceed with arbitrary and capricious action

Against these considerations, the court weighs the effect on Defendants of initiating a
wind-down of the DACA program on their predetermined timetable The court does not step in
this area li ghtly. Defendants have broad discretion to set immigration-enforcement priorities
Ar@_ng, 567 U.S. at 394. Moreover, the DACA program was originally created by the
Executive Branch, and the Trump Administration should be able to alter the policies and

priorities set by its predecessor.

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There are, however, several factors that lead the court to conclude that the balance of the
equities favors granting an injunction Defendants do not appear to have rescinded the DACA
program as an exercise of their discretion, or because of a reasoned policy judgment, but instead,
at least in significant part, because they erroneously concluded that the program was
unconstitutional and unlawful Enj oining Defendants from rescinding the DACA program on
erroneous legal grounds therefore does not intrude on their discretion or well-established
authority to set immigration-enforcement policies Moreover, although the Government
generally has a substantial interest in the speedy deportation of removable aliens because their
presence here “permit[s] and prolong[s] a continuing violation of United States law,” ljl<gr, 556
U.S. at 436 (quoting AAADC, 525 U.S. at 490), the court finds that the Government’s interest in
ending the DACA program is not so compelling For one thing, the President has stated his
support for keeping DACA recipients in the country (albeit preferably pursuant to legislation
rather than executive action). Donald J. Trump, @realdonaldtrump, Twitter.com (Sept. 14, 2017
3:28 Al\/l), https://twitter.corn/realdonaldtrurnp/status/E?08276308265795585 (“Does anybody
really want to throw out good, educated and accomplished young people who have jobs, some
serving in the military? Really! ..... ”). The current DHS Secretary has also stated that the
erstwhile DACA recipients would not be a priority for immigration enforcement Louis Nelson,
DHS Chief; Deporting Dreamers Won’t Be a Priority for ICE lf Talks Fail, Politico (Jan. 16,
2018), https://www.politico.com/story/20l 8/01/16/dhs-dreamers-deportation-not-priority-
340681. Even if deporting DACA recipients M a priority of the Administration, an injunction

against the end of the DACA program would not impede this policy, as, under the 2012 DACA

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Memo, DHS retains discretion to revoke specific DACA recipients’ deferred action and work
authorization14
Accordingly, the court finds that the balance of the equities tip decidedly in Plaintiffs’

favor, and that the public interest would be well-served by an injunction

D. Scope of Relief

For the foregoing reasons, the court finds that Plaintiffs have demonstrated that they are
entitled to a preliminary injunction Defendants are therefore ORDERED to maintain the DACA
program on the same terms and conditions that existed prior to the promulgation of the DACA
Rescission Memo, subject to the following limitations Defendants need not consider new
applications by individuals who have never before obtained DACA benefits; need not continue
granting “advanced parole” to DACA beneficiaries; and, of course, may adjudicate DACA
renewal requests on a case-by-case, individualized basis §r_:e l_{§ths, 2018 WL 339144, at *28.

Plaintiffs contend that the court should require Defendants to restore the DACA program
as it existed on September 4, 20l7, in particular by requiring Defendants to adjudicate initial
DACA applications submitted by individuals who only became eligible for DACA after that
date (Jan. 30, 2018, Hr’ g Tr. (Dkt. Number Pending) 8:24-25.) As in KBM, however, the
court finds that the irreparable harms identified by Plaintiffs largely result from Defendants’
expected failure to renew existing grants of deferred action and especially work authorization
not from Defendants’ refusal to adjudicate new initial DACA applications While the court is
sympathetic to the plight of individuals who were unable to apply for DACA before September

5, 2017, it cannot say that Plaintiffs have demonstrated either that these individuals would be

 

14 The court expresses no view as to whether the revocation of existing DACA benefits would be consistent with the
Due Prccess Clause or other potentially applicable protections

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irreparably harmed without injunctive relief or that the balance of equities favors these
individuals to the same extent it favors existing DACA beneficiaries

The court enjoins rescission of the DACA program on a universal or “nationwide” basis
Again, it does not do so lightly. As Defendants correctly note, equitable principles provide that
the court should not enter an injunction that is broader than “necessary to provide complete relief
to the plaintiffs.” (Defs. Opp’n at 50 (quoting Madsen v. Women’s Health Ctr., lnc., 512 U.S.
753, 765 (1994)).) See also Church & Dwight Co. v. SPD Swiss Precision Diagnostics, GmBH,
843 F.3d 48, 72 (2d Cir. 2016) (“fl]njunctive relief should be no broader than necessary to cure
the effects of the harm caused by the violation . . . .” (internal quotation marks and citations
omitted)). Moreover, several academic commentators have insightfully observed various
problems with the practice of granting nationwide injunctions against the Government, including
that such injunctions thwart the development of law in different courts, encourage forum-
shopping, and create the possibility that different courts will issue conflicting nationwide

injunctions §§ Sarnuel L. Bray, l\/Iultiple Chancellors: Reforming the National lniunction, 131

 

Harv. L. Rev. 417 (2017); Michael T. l\/iorley, Nationwide lniunctions, Rule 23(b)(2)1 and the

 

Remedial Powers of the Lower Courts, 97 B.U. L. Rev. 611 (2017); Zayn Siddique, Nationwide

 

In]`unctions, 117 Colum. L. Rev. 2095 (2017); Getzel Berger, Note, Nationwide lnjunctions
Against the Federal Government: A Structural Anproach, 92 N.Y.U. L. Rev. 1068 (2017).
Nevertheless, the court finds that a nationwide injunction is warranted in these cases
First, it is hard to conceive of how the court would craft a narrower injunction that would
adequately protect Plaintiffs’ interests Plaintiffs include not only several individuals and a
nonprofit organization but also sixteen states and the District of Columbia. To protect the State

Plaintiffs’ interests the court would presumably need to enjoin Defendants from rescinding the

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DACA program with respect to the State Plaintiffs’ residents and employees including the
employees of any instrumentalities of the state, such as public hospitals schools, and
universities Such an injunction would be unworkable, partly in light of the simple fact that
people move from state to state and job to job, and would likely create administrative problems
for Defendants Furthermore, there is a strong federal interest in the uniformity of federal
immigration law. S_ee_ U.S. Const. art. l, § 8, cl. 4 (empowering Congress to “establish auniform
Rule of Naturalization”); M, 809 F.3d at 187-88. Because the decision to rescind the DACA
program had a “systemwide impact,” the couit will preliminarily impose a “systemwide
remedy.” Lewis v. Casey, 518 U.S. 343, 359 (1996) (quoting Davton Bd. of Educ. v. Brinkman,
433 U.S. 406, 420 (1977)).

IV. CONCLUSION

Plaintiffs’ motions for a preliminary injunction (Dkt. 123 in No. i6~CV-4756; Dkt. 96 in
No. l7~CV-5228) are GRANTED. The Batalla Vidal Plaintiffs’ motion for class certification

(Dl<t. 124) is DENIED as moot.

 

SO ORDERED.
fs Ni chol as G. Garaufis
Dated: Brooldyn, New York NICHOLAS G. GARAUFIS
February §§ 2018 _ United States District Judge

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